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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION


THE CHAMBERLAIN GROUP, INC.,

                        Plaintiff,

            v.
                                                      Case No.    16 C 6097
TECHTRONIC INDUSTRIES CO.,
LTD., TECHTRONIC INDUSTRIES                    Judge Harry D. Leinenweber
NORTH AMERICA, INC., ONE
WORLD TECHNOLOGIES, INC.,
OWT INDUSTRIES, INC., ET
TECHNOLOGY (WUXI) CO. LTD.,
and RYOBI TECHNOLOGIES, INC.,

                       Defendants.


                       MEMORANDUM OPINION AND ORDER

     Plaintiff      Chamberlain       Group,    Inc.    (“Chamberlain”)        won   a

jury verdict against Defendants Techtronic Industries Co., Ltd.,

Techtronic       Industries        North     America,         Inc.,    One      World

Technologies, Inc., OWT Industries, Inc., Et Technology (WUXI)

Co. Ltd., and Ryobi Technologies (collectively, “TTI”), in which

the jury found that TTI willfully infringed two of Chamberlain’s

patents,    U.S.    Patent    Nos.    7,224,275       (“the   ‘275    patent”)    and

7,635,966 (“the ‘966 patent”).              Both parties have filed post-

trial    motions.      This       opinion   presumes     familiarity      with    the

case’s     background,       as    described     in    this     Court’s      previous

rulings.     (See, e.g., Dkt. 104 (preliminary injunction opinion);

Chamberlain Grp., Inc. v. Techtronic Indus. Co., No. 16 C 6097,
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2017 WL 368027 (N.D. Ill. Jan. 23, 2017) (contempt opinion);

Chamberlain Grp., Inc. v. Techtronic Indus. Co., No. 16 C 6097,

2017 WL 1304559 (N.D. Ill. Apr. 7, 2017) (claim construction

opinion);        Chamberlain      Grp.,    Inc.        v.    Techtronic      Indus.    Co.,

No. 16 C 6097, 2017 WL 3205772 (N.D. Ill. June 28, 2017) (order

denying motion to transfer venue).)

     I.    TTI’s Renewed Motion for Judgment as a Matter of Law

      The Court “should render judgment as a matter of law when a

party has been fully heard on an issue and there is no legally

sufficient evidentiary basis for a reasonable jury to find for

that party on that issue.”              Reeves v. Sanderson Plumbing Prods.,

530 U.S. 133, 149 (2000) (quoting FED. R. CIV. P. 50(a)).                          This is

a   stringent      standard     under     which    the       Court     “construe[s]        the

facts strictly in favor of the party that prevailed at trial.”

Schandelmeier-Bartels v. Chi. Park Dist., 634 F.3d 372, 376 (7th

Cir. 2011) (citations omitted).                   On a motion for JMOL, “the

court     does    not    make   credibility       determinations          or   weigh       the

evidence,” id., though the Court must “disregard all evidence

favorable to the moving party that the jury is not required to

believe.”        Reeves, 530 U.S. at 151.              The court leaves the jury’s

factual findings “undisturbed as long as they are supported by

substantial        evidence,”      i.e.,    “such           relevant    evidence      as     a

reasonable        mind    might     accept        as        adequate    to     support       a

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conclusion.”      Akamai Techs., Inc. v. Cable & Wireless Internet

Servs., Inc.,      344 F.3d 1186, 1192 (Fed. Cir. 2003) (quoting

Consol. Edison Co. v. NLRB, 305 U.S. 197, 229 (1938)).

       In its renewed Motion for JMOL, TTI argues it is entitled

to judgment because: (1) the asserted ‘275 patent claims are

directed to ineligible subject matter under Alice Corp. Pty. v.

CLS Bank Int’l, 134 S. Ct. 2347 (2014); (2) the ‘275 patent was

anticipated or rendered obvious by prior art; (3) TTI’s products

do not literally infringe the ‘275 patent; (4) the doctrine of

equivalents does not apply here, and the jury should not have

considered it; (5) TTI does not induce infringement of the ‘275

patent, (6) TTI does not willfully infringe the ‘275 patent; (7)

the ‘966 patent was anticipated or rendered obvious by prior

art; (8) TTI does not literally infringe the ‘966 patent; (9)

TTI does not induce infringement of the ‘966 patent; (10) TTI

does    not     willfully     infringe    the     ‘966     patent;      and     (11)

Chamberlain     failed   to   prove    damages.      The       Court   takes    each

argument in turn.

          A.    Ineligibility of Asserted ‘275 Patent Claims

       Anyone    who   “invents   or     discovers       any    new    and    useful

process, machine, manufacture, or composition of matter, or any

new and useful improvement thereof” may obtain a patent. 35

U.S.C. § 101.      But because patent protection does not extend to

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claims that monopolize the “building blocks of human ingenuity,”

claims     directed     to     laws    of    nature,       natural    phenomena,       and

abstract ideas are not patent eligible.                       Alice, 134 S. Ct. at

2354. The Supreme Court instructs courts to distinguish between

those claims directed to patent-ineligible subject matter and

those that “integrate the building blocks into something more.”

Id.     To do so, courts follow the two-step Alice framework.                          Id.

First, a court must “determine whether the claims at issue are

directed to a patent-ineligible concept.”                     Id. at 2355.        If they

are not so directed, the claims satisfy § 101, and the inquiry

ends.      Visual Memory LLC v. NVIDIA Corp., 867 F.3d 1253, 1262

(Fed. Cir. 2017).        But if the claims are so directed, the court

proceeds to step two and “examine[s] the elements of the claim

to     determine     whether      it    contains        an     ‘inventive         concept’

sufficient     to    ‘transform’       the     claimed       abstract      idea    into   a

patent-eligible application.”                Core Wireless Licensing S.A.R.L.

v.    LG   Elecs.,     Inc.,    880    F.3d     1356,      1361    (Fed.    Cir.     2018)

(quoting Mayo Collaborative Servs. v. Prometheus Labs., Inc.,

566 U.S. 66, 72, 79 (2012)).

       To begin the Alice analysis, the court must “articulate

what    the   claims    are     directed      to    with     enough   specificity         to

ensure the step one inquiry is meaningful.”                       Id. (quoting Thales

Visionix Inc. v. United States, 850 F.3d 1343, 1347 (Fed. Cir.

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2017)).    Further, “claims are considered in their entirety to

ascertain whether their character as a whole is directed to

excluded   subject     matter.”     Internet     Patents     Corp.    v.   Active

Network, Inc., 790 F.3d 1343, 1346 (Fed. Cir. 2015).                  The court

“look[s] to whether the claims . . . focus on a specific means

or method that improves the relevant technology or are instead

directed to a result or effect that itself is the abstract idea

and merely invoke generic processes and machinery.”                  Smart Sys.

Innovations, LLC v. Chi. Transit Auth.,               873 F.3d 1364, 1371

(Fed. Cir. 2017) (quoting McRO, Inc. v. Bandai Namco Games Am.

Inc., 837 F.3d 1299, 1313 (Fed. Cir. 2016)).

      Here, TTI claims that wireless transmission of content is

an abstract idea, and that the asserted ‘275 patent claims are

directed to nothing more.          First off, the cases TTI cites in

support    of   this     proposition     do    not    hold    that     wireless

transmission is an abstract idea.            Affinity Labs of Tex., LLC v.

DIRECTV, LLC, 838 F.3d 1253, 1258 (Fed. Cir. 2016) (holding that

the   concept    of    providing    out-of-region      access    to    regional

broadcast content is an abstract idea), cert. denied sub nom.

Affinity Labs of Tex., LLC v. DIRECTTV, LLC, 137 S. Ct. 1596

(2017); Affinity Labs of Tex., LLC v. Amazon.com Inc., 838 F.3d

1266, 1271-72 (Fed. Cir. 2016) (holding that the concept of

delivering user-selected media content to portable devices is an

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abstract     idea),      cert.     denied,       137    S.   Ct.    1596    (2017).        And

second, the Federal Circuit has warned against the dangers of

over-abstraction, Core Wireless, 880 F.3d at 1361 (“[W]e must be

mindful that ‘all inventions at some level embody, use, reflect,

rest    upon,     or     apply   laws      of    nature,       natural     phenomena,      or

abstract     ideas.’”         (quoting       Mayo,       566    U.S.       at   71)),      and

disapproved of parties’ efforts to render abstract objects that

are not, id. at 1362 (“The asserted claims in this case are

directed to an improved user interface for computing devices,

not    to   the    abstract      idea   of       an    index,   as    argued    by    LG    on

appeal.”).        Here, the ‘275 patent claims are not directed to the

transmission        of     data,     but        “to    garage      door     openers     that

wirelessly transmit status information.”                        The Chamberlain Grp.,

Inc. v. Techtronic Indus. Co., 676 F. App’x 980, 982 (Fed. Cir.

2017)   (appeal        from   this   Court’s          initial      claim   construction).

Having identified what the ‘275 patent claims are directed to,

the Court must now determine whether this object is an abstract

idea.

       “The Supreme Court has not established a definitive rule to

determine     what       constitutes       an    ‘abstract         idea’   sufficient       to

satisfy the first step of the [Alice] inquiry,” and as such the

appropriate analysis “compare[s] claims at issue to those claims

already found to be directed to an abstract idea in previous

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cases.”       Enfish, LLC v. Microsoft Corp., 822 F.3d 1327, 1334

(Fed. Cir. 2016).          Post-Alice decisions have found ineligible:

paying for mass transit rides with a credit card, Smart Sys.

Innovations, LLC v. Chi. Transit Auth.,                   873 F.3d 1364, 1371

(Fed. Cir. 2017); “the abstract idea of testing operators of any

kind of moving equipment for any kind of physical or mental

impairment,” Vehicle Intelligence & Safety LLC v. Mercedes-Benz

USA, LLC, 635 F. App’x 914, 917 (Fed. Cir. 2015); the “abstract

idea    for   increasing    sales     implemented    via    ‘some   unspecified,

generic computer,’” DDR Holdings, LLC v. Hotels.com, L.P., 773

F.3d    1245,   1266     (Fed.   Cir.    2015);     creating    a   “transaction

performance guaranty” over an unspecified network, buySAFE, Inc.

v. Google, Inc., 765 F.3d 1350, 1355 (Fed. Cir. 2014); “offering

media     content   in     exchange      for    viewing    an   advertisement,”

Ultramercial, Inc. v. Hulu, LLC, 772 F.3d 709, 715-16 (Fed. Cir.

2014); the abstract idea of a conversion chart, Tech. Dev. &

Licensing, LLC v. Comcast Corp., 258 F. Supp. 3d 884, 887 (N.D.

Ill. 2017); and the routine and conventional activity of making

and storing lists on a microprocessor, Tech. Dev. &, Licensing,

LLC v. Gen. Instrument Corp., 225 F. Supp. 3d 729, 735 (N.D.

Ill. 2016).

       Chamberlain, of course, argues the ‘275 patent claims are

not directed to abstract ideas as in the cases above and should

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pass muster under § 101.                  In doing so, Chamberlain relies in

large part on Chamberlain Group, Inc. v. Linear LLC, 114 F.

Supp. 3d 614 (N.D. Ill. 2015).                    In Linear, Chamberlain claimed

the defendant infringed its GDO patents (though not the patents

asserted    here),          and   the    defendant       moved     to   dismiss    on   the

grounds that the claims were not directed to patent-eligible

subject matter.             Id. at 621.         The court described the relevant

patent claims as directed to “opening and closing a movable

barrier,    (e.g.,          garage      door)    using      a    computer     network     for

communication          between     the    monitor      or       operator     (including    a

controller), and movable barrier,” id. at 626, and held this to

be eligible subject matter in part because the claims “ha[d]

physical and tangible components that are directed to more than

performance of an abstract idea,” id. at 625.                              The court also

held that the asserted claims were directed to a technological

improvement because they integrated a GDO and a network.                           Id. at

626-27.

     Both        of     these     rationales      have      met    with      disagreement,

however.     First, another court in this district observed that

Linear     did        not   benefit      from    the     guidance       of   the   Federal

Circuit’s later decision in Vehicle Intelligence & Safety LLC v.

Mercedes-Benz USA, LLC, 635 F. App’x 914, 920 (Fed. Cir. 2015),

which demonstrated that “the mere presence of a ‘real-world,

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physical’ purpose, such as controlling equipment, does not show

that the claims do not preempt an abstract idea.”                          Joao Control

& Monitoring Sys., LLC v. Telular Corp., 173 F. Supp. 3d 717,

729    (N.D.     Ill.    2016)    (characterizing          Vehicle       Intelligence).

Second,    an    out-of-circuit         district     court       opined    that        “[t]he

alleged technological improvement in [Linear] amounts to nothing

more than operating an existing device from a remote location

over   a   network,”      which    cannot        suffice    for     a    “technological

improvement.”       ChargePoint, Inc. v. SemaConnect, Inc., No. CV 17

3717, 2018 WL 1471685, at *11 (D. Md. Mar. 23, 2018).

       Neither     of    these    critiques       compels     the       Court     to    find

patent-ineligible         subject        matter,        however.           The     Vehicle

Intelligence      decision       does    not     cite    Linear     nor    express        any

opinion on it.          And TTI itself points out that Linear “involved

a different Chamberlain patent . . . that solved a different

problem    and    recited    limitations          different      from     those    in    the

claims     asserted      here.”         (TTI’s     Reply    in     Supp.    of     Summary

Judgment at 1, Dkt. 546.)           Unlike Joao’s characterization of the

claims in Linear, the claims asserted here are not directed to

an abstract idea that merely happens to make use of physical

equipment.          And     as    for      the     Chargepoint          critique,         the

technological improvements of the asserted ‘275 patent claims

are not limited to the introduction of network connectivity.

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Rather, the asserted ‘275 claims are directed to a particular

improvement over prior art which uses a particular manner of

sending and experiencing data.                 This particularity distinction

matters.      In Core Wireless, the Federal Circuit affirmed the

district court’s patent-eligibility finding for claims directed

to “an improved user interface for computing devices.”                        880 F.3d

at 1362.       The court explained: “Although the generic idea of

summarizing        information         certainly        existed     prior     to     the

invention, these claims are directed to a particular manner of

summarizing and presenting information in electronic devices.”

Id.   at    1362   (emphasis       added).        Concerning      this    “particular

manner,”     the    court    noted      that      the    claims    stated     specific

limitations which “disclose[d] a specific manner of displaying a

limited     set    of   information      to    the      user,    rather   than     using

conventional user interface methods to display a generic index

on    a    computer.    .    .     .   [T]hese     claims       recite    a   specific

improvement over prior systems.”                   Id. at 1363.           Indeed, the

Federal Circuit has repeatedly found claims directed to patent-

eligible subject matter when those claims “focused on various

improvements of systems.”              Id. at 1362; see, e.g., Enfish, LLC

v. Microsoft Corp., 822 F.3d 1327, 1336, 1338 (Fed. Cir. 2016)

(claims     reciting     a       self-referential        table     for    a   computer

database directed to a particular improvement in the computer’s

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functionality); Thales Visionix Inc. v. United States, 850 F.3d

1343, 1345, 1349 (Fed. Cir. 2017) (claims reciting an improved

method of utilizing particularly configured sensors to determine

position and orientation of an object on a moving platform,

which relied on a particular method of utilizing raw data which

eliminated     complications           inherent      in   conventional       methods);

Visual Memory LLC v. NVIDIA Corp., 867 F.3d 1253, 1258-59 (Fed.

Cir.     2017)           (claims       reciting      programmable         operational

characteristics that provided flexibility not possessed by the

prior art).

       Thus,    the        Federal     Circuit’s      case     law   suggests       that

particular     and        unconventional       improvements     to   prior    art   are

§ 101-eligible.             Such      guideposts     protect    against      overbroad

patents preempting “the use of the underlying [abstract] ideas.”

See, Alice, 134 S. Ct. at 2354; Accenture Global Servs., GmbH v.

Guidewire Software, Inc., 728 F.3d 1336, 1341 (Fed. Cir. 2013)

(expressing         in     pre-Alice     opinion     that    “[i]n    the    case    of

abstractness, the court must determine whether the claim poses

any    risk    of        preempting    an     abstract    idea.”)    (citation      and

internal quotation omitted); accord Joao, 173 F. Supp. 3d at 728

(expressing same).

       Chamberlain’s ‘256 patent claims recite such particular and

unconventional           improvements.         The   moveable    barrier     operator

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(“MBO,” often used interchangeably in the briefing with garage

door opener, or “GDO”) taught by the ‘275 patent does not merely

receive transmissions, as did MBOs in the prior art; instead,

Chamberlain’s MBO experiences—via an onboard controller —status

conditions     and     then    transmits    them          to   other    devices.       This

improvement eliminated the need for a “physical interface . . .

to support numerous potentially utilized peripheral devices,”

thus cutting out “undesired additional cost when part of the

[otherwise, necessarily installed] interface goes unused in a

given installation.”            (‘275 Patent 1:55-63, Dkt. 1-2).)                        In

addition, the improvements taught by the ‘275 patent brought new

compatibility to the MBO; the prior art, by contrast, “fail[ed]

to    permit    compatible       support        of    a    given       peripheral,”     and

precluded users from coupling their prior-art MBO with a new

function “not specifically supported by a given [MBO].”                             (Id. at

2:4-16.)

      Thus, contrary to TTI’s assertions, the ‘275 patent claims

are   unlike     the    ones    in    Vehicle         Intelligence,        which     merely

specified      the   abstract     idea     of     testing       operators      of    moving

equipment for impairment and indicated that such testing could

be conducted more quickly, accurately, and reliably by using an

“expert    system”      that    the   claims         failed     to   define.        Vehicle

Intelligence, 635 F. App’x at 917.                         Rather, the ‘275 patent

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claims better fit the mold in Visual Memory LLC v. NVIDIA Corp.,

867 F.3d 1253, 1259 (Fed. Cir. 2017), where the Federal Circuit

held claims patent-eligible which were directed to an improved

computer      memory        system         with     programmable        operational

characteristics,       which     “provided        flexibility    that    prior     art

processors did not possess, and obviated the need to design a

separate    memory     system    for       each   type    of   processor.”       Core

Wireless,    880    F.3d    at   1362      (characterizing       the    findings   in

Visual   Memory)     (emphasis       added).        The   ‘275   patent      provides

exactly this enhanced flexibility, which transcends prior art

conventions.         Finally,        the     particularity       of    the     claims—

specifically,      that    the   controller       must    experience     the    status

conditions—diminishes the preemption concerns that undergird the

Alice inquiry.       134 S. Ct. at 2354.

     The asserted claims are directed to patent-eligible subject

matter under § 101, so the Alice analysis ends before we reach

step two.     Elec. Power Grp., LLC v. Alstom S.A., 830 F.3d 1350,

1353 (Fed. Cir. 2016) (citing Alice, 134 S. Ct. at 2355).                       TTI’s

JMOL Motion on § 101 ineligibility is denied.

                     B.    Invalidity of the ‘275 Patent

                                 1. Anticipation

     Under 35 U.S.C. § 102, a patent is invalid if a prior art

reference    discloses,      either        explicitly     or   inherently,      every

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limitation of the claimed invention.               Liebel-Flarsheim Co. v.

Medrad, Inc., 481 F.3d 1371, 1381 (Fed. Cir. 2007) (citation

omitted).     Judgment as a matter of law is appropriate if no

reasonable jury could find, as the one here did, that the prior

art did not anticipate, and thus invalidate, the patent.                    See,

Krippelz v. Ford Motor Co., 667 F.3d 1261, 1268 (Fed. Cir. 2012)

(applying    Seventh    Circuit    JMOL   standard).       As   it   argued   at

trial, TTI contends that the Menard PCT prior art anticipated

claims 1, 5, and 15 of the ‘275 patent.

These claims recite:

  1. A movable barrier operator comprising:

     a   controller  having   a   plurality  of                 potential
     operational status conditions defined, at                  least in
     part, by a plurality of operating states;

     a movable barrier interface that is operably coupled
     to the controller;

     a wireless status condition data transmitter that
     is operably coupled to the controller, wherein the
     wireless status condition data transmitter transmits
     a status condition signal that:
     corresponds   to   a  present   operational   status
     condition defined, at least in part, by at least
     two   operating  states   from   the  plurality   of
     operating states; and

     comprises an identifier that is at least relatively
     unique to the movable barrier operator, such that
     the status condition signal substantially uniquely
     identifies the movable barrier operator.

  5. The movable barrier operator of claim 1 wherein the
  plurality of operating states includes at least one of:

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     moving a movable barrier in a first direction;

     moving the movable barrier in a second direction;

     reversing movement of the movable barrier;

     halting movement of the movable barrier;

     detecting a likely presence of an obstacle to movement
     of the movable barrier;

     detecting a likely proximal presence of a human;

     receiving a wireless remote control signal;

     receiving a wireline remote control signal;

     receiving a learning mode initiation signal;

     a lighting status change;

     a vacation mode status change;

     detecting a likely proximal presence of a vehicle;

     detecting the identification of a proximal vehicle;
     and

     receiving an operating parameter alteration signal.

  15. The method of claim 14 wherein detecting at least one
  predetermined condition includes detecting at least one of:

     moving a movable barrier in a first direction;

     moving the movable barrier in a second direction

     reversing movement of the movable barrier;

     halting movement of the movable barrier;

     detecting a likely presence of an obstacle to movement of
     the movable barrier;


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     detecting a likely proximal presence of a human;

     receiving a wireless remote control signal;

     receiving a wireline remote control signal;

     receiving a learning mode initiation signal;

     a lighting status change;

     a vacation mode status change;

     detecting a likely proximal presence of a vehicle; and

     receiving an operating parameter alternation signal.

(‘275    Patent    8:5-21,        8:30-46,    9:39-55,     Dkt.    1-2.)          Claim   1

identifies     a        movable    barrier      operator     comprising           both    a

controller and a transmitter.                (Id. at 8:5-21.)       But TTI did not

present any evidence that the Menard GDO 1000—as opposed to an

add-on module to that GDO—contained a controller or wireless

transmitter.       Indeed, Chamberlain’s technical expert, Dr. Rhyne,

presented evidence showing that the Menard GDO 1000 and the

system 10000 (the aforementioned module) each have their own,

separate controllers and power supplies.                   (Id. 1297:16-1299:8.)

In response to this, TTI emphasizes that the Chamberlain claims

do not require the controller to be housed in the GDO’s head

unit.     (See, Chamberlain’s Resp. to JMOL Mot. at 9, Dkt. 651

(Chamberlain admitting its asserted claims do not require “the

controller,       the    movable     barrier       interface,     and   the       wireless

status    condition        transmitter        to     be   located       in    a    single

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housing.”).)      But Chamberlain explains that the key limitation

in its claims is not whether the controller and transmitter

share a housing, but instead whether they are part of the GDO at

all, instead of—as in Menard’s system 10000—part of a separate

module that can send signals to the GDO.              Chamberlain presented

evidence of this distinction through Dr. Rhyne’s testimony:

       A: [T]he . . . Menard module . . . has a separate
       module that you add on top of the garage door and, as
       a result, the controller in the module is what sends
       out the state signal, not the controller in the GDO.

                                     . . .

       Q: Dr. Rhyne, you were asked a couple questions about
       whether the Menard module, that modular system we
       discussed, system 10000, can send control signals to
       the GDO 1000. In your opinion, is that -- does that
       make the module in Menard a movable barrier operator
       under the Court’s constructions?

       A: No. It’s not the movable barrier operator in Figure
       37. That movable barrier operator is the GDO 1000 down
       in the bottom. The top guy is not a movable barrier
       operator.

       Q: And can a smartphone also send control signals to
       open and close a door on a garage door opener?

       A: Yes.

       Q: And is a smartphone a movable barrier operator?

       A: Not in that sense, no, any more than the pushbutton
       switch, the 6500 is a movable barrier operator.

(Rhyne Tr. 1310:18-21, 1374:9-22.)            This is substantial evidence

that   Chamberlain’s      asserted    claim    1   claims    limitations     not


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present in the prior art, so JMOL is not appropriate as to TTI’s

anticipation argument as to claim 1.

     As for claims 5 and 15, Chamberlain contends that JMOL is

not appropriate because both claims recite a limitation that is

not disclosed in the Menard prior art.                  Specifically, claim 5

depends from claim 1’s recitation of “a controller having a

plurality of potential operational status conditions defined, at

least in part, by a plurality of operating states,” and claim 15

depends    from    claim    14’s    recitation     of    “a   movable   barrier

operator    detecting      at    least   one   predetermined     condition    as

corresponds to a present operational status defined, at least in

part, by at least two operating states[.]”                    (See, Rhyne Tr.

1309:21-22;       Foley    Tr.     871:5-8     (both    citations   describing

dependent relationships of claims).)               In contrast, the Menard

prior art does not explain how its signals are defined:

     Q. Do [Dr. Foley’s slides concerning the Menard prior
     art] show a condition defined by a plurality of states
     as claimed?

     A. They show things that the Menard module can report
     like whether the door is open, closed, or partially
     closing,   freezing,   normal,  overheating  on   the
     temperature of the unit, but it doesn’t – there’s no
     disclosure of how those things are defined, and there
     are other ways to do it than having states that would
     define those conditions.

     Q. Can you provide us one example?



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     A. A good one would be door position. You can report
     the number of times the motor has turned, so the
     rotations. And every rotation incrementally pulls the
     door up or, if it’s going the other way, it lets it
     down a little bit. And then you can leave it up to the
     receiver at the other end to decide how many rotations
     is it going to take to get the door open, how many is
     it going to take to get the door to close. And if it
     sees the rotations coming at a different speed, it
     knows that it’s partially closing. Those are not
     reporting specific states in the message itself.

(Rhyne     Tr.   1307:16-1308:9.)            Simply       put,     the     jury     heard

substantial evidence that while the Menard PCT status conditions

could be defined in a number of ways, Chamberlain’s ‘275 claims

limit its status conditions to one type of definition. Because

that limitation appears only in the asserted claims, the Menard

prior art does not anticipate them.                 See, Liebel-Flarsheim Co.,

481 F.3d at 1381.

                               2.    Obviousness

     TTI also contends that the Cohen prior art renders the

asserted claims obvious.           Under 35 U.S.C. § 103, “[o]bviousness

is a question of law based on underlying findings of fact.”

Wyers v. Master Lock Co., 616 F.3d 1231, 1237 (Fed. Cir. 2010)

(citation omitted).         The underlying factual inquiries include:

(1) the scope and content of the prior art, (2) the differences

between the prior art and the claims at issue, (3) the level of

ordinary    skill   in   the      art,    and     (4)    any   relevant      secondary

considerations,      such    as     commercial          success,    long     felt     but

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unsolved needs, and the failure of others.                        Id. (citing Graham

v. John Deere Co., 383 U.S. 1, 17-18 (1966)).

       TTI contends that a person of ordinary skill in the art

would    have    been    motivated     to   combine         the    Menard    PCT   door-

position prior art discussed earlier with the Cohen prior art,

which TTI maintains teaches the signal format recited in the

‘275    patent.        But    at   trial,   Chamberlain           presented    evidence

showing that the Cohen prior art does not claim sending status

conditions defined by two or more states.                         (Rhyne Tr. 1312:3-9

(“All   [the    Cohen     reference]    does      is   it    talks     about   a   state

signal that indicates in a way that is not described that the

door is opening, closing, opening, or closing.                        And as I said,

there are certainly ways to do it that doesn’t involve sending a

state -- a status condition signal that gives you two states as,

for example, that rotational information as an alternative.”).)

Further, Dr. Rhyne explained that just like the Menard prior

art,    the    Cohen    reference     teaches     an     add-on      modular   device,

meaning that once again a controller in the module sends out the

signal—not      the     controller    in    the    GDO      itself.         (Rhyne   Tr.

1310:11-21.)      Because, according to Dr. Rhyne’s testimony, this

combination does not teach the limitations of the ‘275 patent

claims, the jury heard substantial evidence supporting a finding

of nonobviousness.           See, Hearing Components, Inc. v. Shure Inc.,

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600 F.3d 1357, 1374 (Fed. Cir. 2010), abrogated on other grounds

by Nautilus, Inc. v. Biosig Instruments, Inc., 134 S. Ct. 2120

(2014).

                C.    Literal Infringement of the ‘275 Patent

       This argument is nothing new.                           TTI moved for pre-trial

summary judgment of non-infringement of the ‘275 patent, and the

Court denied that motion.                    (June 21, 2017, Order, Dkt. 397.)

TTI     posits       once    more          that     the     Ryobi       signal        does   not

“correspond[] to a present operational status condition defined,

at    least     in   part,       by   at     least       two    from     the    two    or    more

operational conditions being experienced by the controller,” as

recited    in    claims      1    and      24.          Chamberlain,      2017    WL    1304559

(emphasis added).            According to TTI, this is so because the

Ryobi     controller             cannot          simultaneously           experience         two

operational          conditions         given           that—in        TTI’s     reading—such

conditions       are    mutually           exclusive,          e.g.,    “[t]he     controller

cannot    simultaneously              be     experiencing          door        open,    closed,

opening, closing, or fault.”                      (Mem. in Supp. at 18, Dkt. 618.)

But as the Court has already noted, this contention misses the

mark:    “[M]any       (if   not      all)        GDO    components       contain      multiple

potential but mutually exclusive positions or states, making it

unclear how a transmitter as [TTI] conceive[s] [is recited by

the ‘275 patent] would even be operative.”                                (June 21, 2017,

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Order at 4, Dkt. 397.)                In short, TTI’s renewed argument depends

upon a narrow reading of “operational status condition” which

does not square with this Court’s earlier construction of the

term as encompassing status conditions of other categories of

information the controller may experience (for example, light

on/off, vacation mode on, etc.).                    (See, id. at 5-6 (“[a present]

status condition [may] be defined (or determined, or its meaning

clarified) by multiple operational conditions being experienced

by the controller (for example, lights on in tandem with, as a

result    of,    or    in    response        to    the   garage         door’s     opening,   a

sensor’s detection of a proximal vehicle, or a user’s flipping

the vacation mode switch).”).)

     Claim      1   recites       a    transmitter       that      transmits        “a   status

condition       signal      that:      corresponds       to    a    present       operational

status condition defined, at least in part, by at least two

operating states from the plurality of operating states . . .”

(‘275    Patent       8:13-17,        Dkt.     1-2.)      At       trial,        Chamberlain’s

evidence demonstrated that the Ryobi GDOs (both the GD200 and

the revised, GD200A) do exactly that.                     Dr. Rhyne explained that

in both versions of the Ryobi GDO, the device “send[s] a signal

corresponding         to    a     present         operational           status    condition.”

(Rhyne Tr. 288:4-5.)              Such a signal (for example, “light on”) is

defined     both      by    the       status      condition        it     carries    and    the

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potential,     but     not     present,    condition(s)          it    necessarily

precludes (in this example, “light off”).                 (See, June 21, 2017,

Order at 4, Dkt. 397 (indicating that Court’s Markman order did

not limit the operational conditions that are “experienced by

the controller and capable of defining its operational status

condition(s)”     to    only   potential      or     to   only   present     status

conditions).)     Dr. Rhyne explained as much to the jury:

      [N]otice this light state [in the Ryobi electronic
      system architecture and design specifications]. This
      is the status condition on the light, and it’s got two
      states. Remember, we had to have a plurality of
      states, two or more: Off and on. This is the status
      condition for the door. It’s got five states: Closed,
      open, closing, opening, or a fault. . . . [Y]ou can
      see here are those five states that are available. So
      I’ve got a status for the door defined by five
      possible states, the same words [as in the ‘275
      patent].

(Rhyne   Tr.   275:15-20,      277:14-17.)         Chamberlain     presented     the

jury with substantial evidence that accorded with the Court’s

claim constructions showing that the device taught by the ‘275

patent and the Ryobi GDOs send signals defined in the same way.

A   reasonable   jury    hearing    this   testimony       could      find   literal

infringement, so the Court will not grant TTI’s JMOL and vacate

that finding.

    D.   Doctrine of Equivalents Infringement of the ‘275 Patent

      “The doctrine of equivalents allows the patentee to claim

those    insubstantial       alterations      that    were   not      captured    in

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drafting the original patent claim but which could be created

through trivial changes.”               AquaTex Indus., Inc. v. Techniche

Sols., 419 F.3d 1374, 1382 (Fed. Cir. 2005) (quoting Festo Corp.

v.   Shoketsu     Kinzoku    Kogyo      Kabushiki     Co.,    535      U.S.   722,    733

(2002)).     Here, TTI marshals two arguments against the jury’s

finding that TTI infringed the ‘275 patent under the doctrine of

equivalents.        First,        TTI   contends      that    because     Chamberlain

narrowed    its    claims    during      prosecution,        it   is   estopped      from

arguing the doctrine of equivalents.                   Second, TTI argues that

even if Chamberlain is not so estopped, Chamberlain nevertheless

failed to present the jury with substantial evidence on the

equivalents theory.         Neither argument is persuasive.

                     1.     Prosecution History Estoppel

       We have seen TTI’s first argument before, in rebuttal to

Chamberlain’s pretrial motion to enforce the Court’s preliminary

injunction.       (Dkt. 228 at 10-11.)           Once more, the argument runs

like    this:       Under    Festo      Corp.    v.    Shoketsu        Kinzoku      Kogyo

Kabushiki Co., 535 U.S. 722, 736, 740 (2002), once a patent

applicant       narrows     his    application        via    amendment        and    thus

relinquishes subject matter, the applicant cannot later rely on

the doctrine of equivalents to claim infringement by a device

that falls between the broader and the narrower language, unless

the applicant can show the amendment does not surrender the

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particular equivalent.          See,    Festo,    535 U.S. at 740;        accord

Salazar v. Procter & Gamble Co., 414 F.3d 1342, 1344 (Fed. Cir.

2005) (“The doctrine of prosecution history estoppel serves to

limit the doctrine of equivalents when an applicant makes a

narrowing amendment for purposes of patentability, or clearly

and unmistakably surrenders subject matter by arguments made to

an examiner.”).        According to TTI, Chamberlain interjected such

a limitation during the prosecution of ‘275 patent to overcome

the Examiner’s initial rejection of independent claim 1 based on

the   Doyle    reference.       The    Court     previously   summarized     the

pertinent prosecution history as follows:

      In the relevant amendment and remarks, the Applicant
      traversed Doyle by citing to Figure 2 of the Doyle and
      its associated text, which disclose a mercury switch
      oriented within a radio frequency (“RF”) transmitter
      where the mercury bead only causes transmission of the
      RF signal when the garage door is in an intermediate
      position. The Application contrasted this facet of
      Doyle, in which the transmitted RF signal is keyed to
      a single position or state of Doyle’s garage door,
      with its amended claims, which “require a wireless
      status condition data transmitter to transmit a status
      condition signal that corresponds to a present
      operational status condition defined, at least in
      part, by at least two operating states from the
      plurality of operating states.”

Chamberlain, 2017 WL 368027, at *5 (citing File History, App.

No. 10/477,633, June 15, 2005, Amendment at 12 (emphasis in

original)).      Thus, “Doyle could only ever be defined by one

operating     state:   a   single     intermediate   position    of   a   garage

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door, as opposed to the dual operating states of open/closed.”

(Id. at 14-15.)

     The    problem      with     TTI’s      argument        is      that      even   if

Chamberlain’s prosecution amendments narrowed the ‘275 patent,

TTI’s Ryobi GD200A does not fall “between the broader and the

narrower   language.”       Festo,     535     U.S.    at    740.       As     discussed

above, Dr. Rhyne explained that both the Ryobi and Chamberlain

GDOs use status conditions defined by a plurality of states

(e.g., two states—on and off—define the status condition of the

light; five states—closed, open, closing, opening, and fault—

define the status of the door, etc.).                  (See, Rhyne Tr. 275:15-

20, 277:14-17.)        TTI now makes much of another part of Dr.

Rhyne’s testimony, which TTI takes as proof that Dr. Rhyne later

reversed    his    position     and    agreed         that     the      Ryobi    status

conditions are defined by only one state at a time.                             However,

TTI’s   selection     of   that    testimony          leaves      out    Dr.    Rhyne’s

clarification and is not representative.                    The full selection is

this:

     Q: So I asked you this question [in your deposition],
     Dr. Rhyne. “So if we’re talking about the present
     operational status condition,” present operational
     status condition, “of the door, at any point in time,
     it is only defined by one of the states that the door
     can be in, correct?” And you asked me, “One of the
     operating states?” I said, “Correct.” And your answer
     was, “Yes,” correct?


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       A: I interpreted what you asked me to mean as I did
       the previous one, what’s in that transmitted status
       condition that’s sent out by the data transmitter.
       There’s always only one in the message. There’s not
       two.

       Q: That’s right, because the signal is defined by the
       one state that the door can be in, as your answer said
       here, correct?

       A: When you transmit the present operational status
       condition, you transmit only one of the states.

       Q: And that’s what defines that signal, correct?

       A. At that time, you send out that one.

(Rhyne Tr. 354:4-22.)          As Dr. Rhyne’s clarification makes clear,

he did not opine that the Ryobi devices operated based on status

conditions defined at a given time by only one state; rather,

Dr.    Rhyne    simply   described      the    signal   format     of   the    GD200A

device,    which      sends   several    discrete    pings    of   data   seriatim

rather than sending a single batch, as does the pre-revision

GD200.     To the extent Chamberlain narrowed its claims during

prosecution, TTI has not shown that its Ryobi GDOs fall between

the broader and narrower language.               See, Festo, 535 U.S. at 740

(holding       that   applicants   only       surrender   equivalents         falling

between the broader and narrower, post-amendment language).                        As

such, TTI has failed to show that prosecution estoppel should

have     precluded     Chamberlain      from     presenting      its    equivalents

theory to the jury.


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                  2.     Substantial Evidence of Equivalents

     Next, TTI argues that Chamberlain failed to present the

jury with substantial evidence on the doctrine of equivalents

theory.          Such    evidence        must   establish       “equivalency    on     a

limitation-by-limitation basis by particularized testimony and

linking argument as to the insubstantiality of the differences

between     the     claimed       invention       and    the    accused    device    or

process.”        Akzo Nobel Coatings, Inc. v. Dow Chem. Co., 811 F.3d

1334,     1342    (Fed.     Cir.    2016)       (internal      quotations     omitted)

(quoting Tex. Instruments Inc. v. Cypress Semiconductor Corp.,

90 F.3d 1558, 1566 (Fed. Cir. 1996)).

     Here,       TTI     argues    that    Chamberlain         failed    generally   to

provide evidence showing equivalents for claims 5 and 14 and

failed    specifically        to    provide        equivalency     evidence    of    the

unique identifier limitation required in claims 1 and 14.                        These

assertions do not accurately describe the evidence presented as

trial.     Dr. Rhyne clearly articulated the basis for his belief

concerning       equivalency       for    claim     1.   (Rhyne    Tr.    267:16-296:9

(concluding       with    “[w]e    have     [now    discussed     every    element   of

claim 1], and I’ve explained why in my opinion each and every

element is met either literally under the way I think the claim

ought to be interpreted or under the doctrine of equivalents

under the way TTI thinks it should be interpreted.”).)                         Claim 5

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incorporates all of the limitations of claim 1, which Dr. Rhyne

explained at trial: “[Claim 5] basically is what’s called a

dependent claim. So it starts out by saying ‘the movable barrier

operator of Claim 1.’ So to infringe claim 5, you’ve got to meet

all the limitations of claim 1.” (Rhyne Tr. 296:13-16.)                              At

trial,     then,     Chamberlain        needed    to      present       evidence     of

infringement       under      the   doctrine      of      equivalents       for     all

limitations of claim 1—which, as discussed, it did—as well as

for the limitation unique to claim 5.               That remaining limitation

concerns the ‘275 patent’s reliance on a “plurality of operating

states [that] includes at least one of” any of the fourteen

listed states, including, for example, “moving a movable barrier

in a first direction; moving the movable barrier in a second

direction; . . . halting movement of the movable barrier; . . .

receiving    a     wireless    remote     control      signal;      . . .   [and]     a

lighting    status    change.”          (‘275    Patent      8:30-36,    Dkt.     1-2.)

There was no shortage of evidence at trial concerning the Ryobi

GDO’s    equivalent    use     of   a   “plurality      of    operating     states.”

(See, e.g., Rhyne Tr. 275:15-20 (reciting operating states in

Ryobi GDO, including light states and door position states),

354:4-22    (discussing       plurality     of    operating      states     in    Ryobi

GDO).)



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       As to claim 14: Dr. Rhyne testified that claim 15 depends

from    claim     14.     He    also     testified      that   the    Ryobi      devices

infringe on all of the elements in claim 14, including the two

elements that do not also appear in claim 1.                    (Rhyne Tr. 298:23-

299:24.)         TTI’s    final      argument—that         Chamberlain      failed      to

present    evidence      concerning       the     unique    identifier      limitation

required in claims 1 and 14—similarly ignores testimony and thus

fails.          (Rhyne    Tr.      294:15-295:3         (explaining        the     unique

identifier recited in claim 1 and describing a similar unique

identifier      employed      by   the    Ryobi    devices).)         In   sum,     TTI’s

characterizations        of    the   evidence      produced     at    trial      are   not

accurate.       Through Dr. Rhyne, Chamberlain produced substantial

evidence in support of its doctrine of equivalents theory on a

limitation-by-limitation basis.                  See, Akzo Nobel, 811 F.3d at

1342.    TTI’s JMOL Motion on this ground is denied.

           E.     TTI Induces Infringement of the ‘275 Patent

       TTI has no argument here. “Inducement can be found where

there is ‘[e]vidence of active steps taken to encourage direct

infringement,’ which can in turn be found in ‘advertising an

infringing use or instructing how to engage in an infringing

use.’”     Takeda Pharm. U.S.A., Inc. v. W.-Ward Pharm. Corp., 785

F.3d 625, 630-31 (Fed. Cir. 2015) (quoting Metro-Goldwyn-Mayer

Studios    Inc.    v.    Grokster,       Ltd.,    545   U.S.   913,    936       (2005)).

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“Such    instructions       need    to     evidence        ‘intent    to   encourage

infringement.’”         Id. (quoting Vita-Mix Corp. v. Basic Holding,

Inc.,    581     F.3d   1317,     1329    (Fed.     Cir.    2009)).        Dr.    Rhyne

testified      about    advertising       language    appearing       on   the    Ryobi

website and Ryobi’s GDO packaging that showcases the capability

to “[m]ake your garage smart.              Control, monitor, and personalize

your garage door remotely.”              (Rhyne Tr. 306:12-307:24.)             And the

jury found that the Ryobi devices infringe the ‘275 patent.                          A

reasonable      jury    having    made    that     determination      could     further

find    that    Ryobi’s    advertisements         encouraging     users    to    deploy

Ryobi GDOs for an infringing use constitute inducement.                           TTI’s

JMOL Motion is denied on this ground.

                F.   Willful Infringement of the ‘275 Patent

       The Court will not overturn the jury’s finding that TTI

willfully infringed the ‘275 patent.                  As set forth in greater

detail below, the jury heard evidence that TTI knew before it

developed the Ryobi GD200 that: (1) Chamberlain had a broad GDO-

related patent portfolio, (2) as such, development in the GDO

space would be hazardous, and (3) the ‘275 patent existed and

covered Chamberlain’s GDO.               (See, infra at Part IV.)                 TTI’s

repeated       assertion   that    its    engineers        who   deconstructed      the

Chamberlain GDO “did not see” the ‘275 patent marking on the

device is at this point feckless.                 (Mem. in Supp. of JMOL at 26,

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Dkt. 618.)        The jury heard this, too, and apparently found it

incredible or at least not exculpating in light of the many

other ways TTI was put on notice of the ‘275 patent and the

general dangers of possibly treading on Chamberlain’s GDO IP.

(See, infra at Part IV.)               TTI’s JMOL Motion is denied as to the

jury’s willfulness determination.

            G.   Invalidity of ‘966 Patent Based on Prior Art

                  1.    Craftsman Prior Art – Anticipation

       At trial, the parties’ experts debated whether a Craftsman

GDO in prior art anticipated the ‘966 patent.                      Through related

testimony, the jury heard substantial evidence of a limitation

recited     by    the    ‘966    claims       that   is   not   disclosed   by     the

Craftsman prior art.            35 U.S.C. § 102; Liebel-Flarsheim Co., 481

F.3d   at    1381      (reciting       that    patent     claims   are   invalid    as

anticipated       by    prior    art    only    if   that    art   discloses     every

limitation of the claimed invention).

       Claim 9 recites:

                 9. A battery charging apparatus, comprising:

       a battery charging station in electrical communication
       with   a  rechargeable   battery  and   in  electrical
       communication with a head unit of a barrier movement
       operator   for  supplying   power  to  at  least   one
       rechargeable battery, the at least one rechargeable
       battery being removably connectable to electrically
       powered equipment other than and physically separate
       or separable from the barrier movement operator to


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      provide power to the electrically powered equipment;
      and

      circuitry   electrically  connected   to  the  battery
      charging station to supply power from the at least one
      rechargeable battery to the head unit.

(‘966 Patent 8:8-22, Dkt. 1-1.)                Although claim 9 recites a

“removably connectable” battery, the Craftsman GDO recites no

such limitation.      The Court construed “removably connectable” as

“configured to allow a user to insert, plug in, or otherwise

manually attach and detach.”            Chamberlain, 2017 WL 1304559, at

*24; accord Rhyne Tr. 1317:9-12 (reciting same).               The Ryobi GDOs

have batteries that “just snap[] out,” but the Craftsman GDO

battery is attached by screws to either the top of the GDO or to

the   ceiling    above    the    GDO.         (Rhyne   Tr.   1316:17-1318:6.)

According to Dr. Rhyne, the Craftsman battery must be screwed in

one way or another, because otherwise the battery could fall off

the unit when it vibrates while raising or lowering the door.

(Id. at 1316:17-21.)        In contrast, TTI’s technical expert, Dr.

Foley, maintained that a user’s ability to remove those screws

rendered the Craftsman battery removably connectable, but Dr.

Rhyne rebutted that interpretation:

      I think [that in explaining his position as to why the
      Craftsman battery is removable connectable, Dr. Foley]
      said, ‘Well, I could go up there and undo the screws
      or something.’ That certainly isn’t something that the
      typical garage door user - think about it for
      yourself. Are you going to go up there, back your car

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       out, get up on a ladder, and go up and unscrew it just
       so you can move it to another garage door, maybe if
       you have a two-car garage, especially when that other
       door already has a battery bolted on top of it to
       start with. That’s just not – that’s not a reasonable
       interpretation of the claim.

(Rhyne    Tr.     1317:16-24.)         The     jury        apparently     credited      Dr.

Rhyne’s     interpretation,          which        the      Court     agrees       provided

substantial evidence from which the jury reasonably could have

concluded that the Craftsman prior art did not anticipate the

‘966    patent.        See,   Akamai       Techs.,      Inc.    v.   Cable   &    Wireless

Internet Servs., Inc., 344 F.3d 1186, 1192 (Fed. Cir. 2003).

       But there is more.         There is another limitation in claim 9

which the parties debate at length.                         That claim discloses a

battery removably connectable “to electrically powered equipment

other than and physically separate or separable from the barrier

movement operator.”           (‘966 Patent 8:15-17, Dkt. 1-1.)                   At trial,

Dr. Foley opined that the other electrically powered equipment

disclosed       here    could   be     a    second       GDO,      and   that    such    an

arrangement is possible under the Craftsman prior art.                                  Dr.

Rhyne     disagreed,      and    relied      on      the    specification        for    his

conclusion that the other equipment cannot simply be a second

GDO, and thus the ‘966 patent discloses a limitation not present

in Craftsman.          (Rhyne Tr. 1315:10-1316:11.)                  “[W]hen there is

conflicting testimony at trial, and the evidence overall does


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not make only one finding on the point reasonable, the jury is

permitted      to     make    credibility     determinations          and    believe    the

witness it considers more trustworthy.”                       MobileMedia Ideas, LLC

v. Apple Inc., 780 F.3d 1159, 1168 (Fed. Cir. 2015) (citation

omitted).       The evidence did not make only one of the witnesses’

interpretations reasonable, so the Court will not disturb the

jury’s    finding       that     Craftsman       did    not    anticipate      the     ‘966

patent.

         2.    Crusius Prior Art – Anticipation and Obviousness

     Parallel         problems    doom    TTI’s    JMOL       Motion    concerning      the

Crusius       prior    art.      As    with   Craftsman,        TTI    maintains       that

Crusius anticipates the ‘966 patent.                       But Dr. Rhyne testified

that Crusius does not invalidate any of the ‘966 claims because

the Crusius patent “covers essentially the same thing as the

Craftsman battery.”            (Rhyne Tr. 1324:7-19.)               He added that the

Crusius       patent    does     not   disclose        a   “removably        connectable”

battery nor any separate equipment that could be powered by the

battery.       (Id.)        Dr. Foley contradicted this latter finding in

much the same way as he did Dr. Rhyne’s opinions on Craftsman,

that is, by explaining that the Crusius battery could be plugged

into a second GDO and thereby satisfy the “powered equipment

other     than        and     physically      separate         or     separable      from”

limitation.         Again,      Dr.      Rhyne     explained          that     the     ‘966

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specification required “separate” equipment other than a second

GDO, and the jury was entitled to credit his interpretation over

Dr. Foley’s competing one.        MobileMedia Ideas, 780 F.3d at 1168.

      As   for     obviousness,       TTI      does    not      articulate    any

justification for its belief that no reasonable jury could have

failed to find that the Crusius prior art renders obvious the

asserted claims.       And to any extent, Chamberlain points out that

Dr.   Rhyne     testified     regarding       secondary      considerations    of

nonobviousness which the jury may, and apparently did, choose to

credit.     See, Transocean Offshore Deepwater Drilling, Inc. v.

Maersk Drilling USA, Inc., 699 F.3d 1340, 1349 (Fed. Cir. 2012)

(considering     commercial     success,      industry    praise,      unexpected

results, copying, industry skepticism, licensing, and long-felt

but unsolved need in the court’s analysis of secondary indicia

of    nonobviousness).      Specifically,        Dr.    Rhyne     described    an

internal      patent   disclosure      filled     out     by     TTI    employees

describing an idea similar to the ‘966 patent claims:

      Q: Okay. And then the last topic for you, Dr. Rhyne,
      secondary considerations with respect to the ‘966
      patent. Have you seen any secondary considerations to
      show that the ‘966 claims are not obvious?

      A: Yes.

                                     . . .

      [Introducing the internal patent disclosure]


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                                     . . .

      A. [Reading from the disclosure:] “Our idea is to
      power the garage door opener from one or more
      removable   battery  packs   such  as   a power  tool
      battery. . . . Another facet of this invention is the
      ability to potentially charge the battery packs while
      inserted into the garage door.” They’re saying they
      thought that this was something, evidence of a long-
      felt need. Unfortunately, it was. It’s just that the
      need had already been met by Chamberlain.

      Q. Exactly. And just for clarity, this is a form by
      TTI that was filled out, I guess, before or after the
      ‘966 patent?

      A. After.

(Rhyne Tr. 1324:20-1326:2 (emphasis added).)                  According to Dr.

Rhyne,    TTI’s     internal     patent        disclosure     demonstrated       an

industry-perceived, long-felt need for a GDO using a removably

connectable,      rechargeable    battery,      which   is    exactly     what   the

‘966 patent teaches.       Chamberlain thus presented the jury with a

nexus    between    the   evidence      and    the   merits    of   the    claimed

invention as required for the jury to accord these secondary

considerations of nonobviousness substantial weight.                      FastShip,

LLC v. United States, 131 Fed. Cl. 592, 620 (2017) (quoting

Wyers v. Master Lock Co., 616 F.3d 1231, 1246 (Fed. Cir. 2010)).

      In sum, because the jury heard substantial evidence that

the Crusius prior art neither anticipated nor rendered obvious

the   ‘966   patent    claims,    TTI    has    no   basis    for   JMOL    relief

stemming from Crusius.

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         3.     Weik Prior Art – Anticipation and Obviousness

       TTI’s contentions concerning the Weik prior art ultimately

meet with the same outcome as the other prior art arguments

considered     above.       The    Weik     patent    teaches    a   motor-operated

door, and discloses “two different embodiments, one of which has

a portable battery and no charger and one of which has a non-

portable battery but does have a charger.”                     (Rhyne Tr. 1322:2-

1323:3.)      TTI does not argue that either embodiment, on its own,

anticipates or renders obvious the ‘966 patent.                       Instead, TTI

argues these problems arise for the ‘966 patent once the two

Weik embodiments are combined.               Neither of these arguments meets

the high bar required to merit JMOL.

       First, to obviousness: “Combining two embodiments disclosed

adjacent to each other in a prior art patent does not require a

leap    of    inventiveness”;       accordingly,        such     combinations     can

render an asserted patent obvious.                 Boston Sci. Scimed, Inc. v.

Cordis Corp., 554 F.3d 982, 991 (Fed. Cir. 2009).                           However,

“[o]bviousness may be defeated if the prior art indicates that

the invention would not have worked for its intended purpose or

otherwise      teaches    away     from    the     invention.”       Meiresonne     v.

Google, Inc., 849 F.3d 1379, 1382 (Fed. Cir. 2017) (citing DePuy

Spine, Inc. v. Medtronic Sofamor Danek, Inc., 567 F.3d 1314,

1326   (Fed.    Cir.     2009)).     “A     reference    teaches     away   ‘when   a

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person of ordinary skill, upon reading the reference, would be

discouraged from following the path set out in the reference, or

would be led in a direction divergent from the path that was

taken’ in the claim.”               Id. (quoting Galderma Labs., L.P. v.

Tolmar, Inc., 737 F.3d 731, 738 (Fed. Cir. 2013)).                           Dr. Rhyne

explained     at    trial    that    the     Weik    patent      teaches    away    from

combining the two embodiments: The integrated charger embodiment

offers the benefit of not requiring service personnel to bring a

rechargeable       battery    with    them    when    they     service      the    motor-

operated door taught by Weik, and, further, if service personnel

brought   a   rechargeable       battery      to    such   a     door,     the    trickle

charger—which is designed to keep the plugged-in battery always

charged—would       take    “a   couple    of   hours”      to    charge     the    newly

installed battery.          (Rhyne 1321:23-1324:6.)              Dr. Foley expressed

a competing opinion, noting that the Weik patent teaches that

“there are many ways to interconnect various electrical elements

to achieve the functions [of the Weik invention],” which Dr.

Foley took as “teaching . . . to take the trickle charger from

[the integrated embodiment] and drop it [into the non-integrated

embodiment].”       (Foley Tr. 940:20-941:4.)              But once more, because

Dr. Foley’s is not the only reasonable interpretation on this

point, the Court will not overrule the jury’s apparent credit



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for Dr. Rhyne’s testimony over his counterpart’s.                                MobileMedia

Ideas, 780 F.3d at 1168.

       Next,    to    anticipation:          TTI   correctly        points       out    in   its

reply that whether prior art “teaches away” from combinations is

only a part of the obviousness analysis and “is not relevant to

an anticipation analysis.”                Krippelz v. Ford Motor Co., 667 F.3d

1261, 1269 (Fed. Cir. 2012) (citation omitted) (emphasis added).

As   such,     Dr.    Rhyne’s       testimony      concerning       the    Weik        patent’s

teaching       away        from     combining         its   embodiments          cannot       be

substantial      evidence          against    anticipation.              Given    this,      TTI

suggests that combining the embodiments covers every limitation

in the ‘966 patent, and so the Weik combination anticipates, and

thus invalidates, the patent.                 TTI’s argument is faulty.                  Though

combinations          of     adjacently        disclosed          embodiments          may    be

considered under the obviousness analysis, the same is not true

for anticipation.            See, Microsoft Corp. v. Biscotti, Inc., 878

F.3d    1052,         1069        (Fed.   Cir.        2017)       (citations           omitted)

(“[A]nticipation is not proven by ‘multiple, distinct teachings

that the artisan might somehow combine to achieve the claimed

invention.’”).         TTI suggests that Dr. Foley testified that “it

is   appropriate       to    use     elements      from     the    two    figures       in   his

anticipation analysis.”               (Resp. at 36, Dkt. 618 (citing Foley

Tr. 940:3-15, 1023:18-19).)                  If this was Dr. Foley’s method, it

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was improper as a matter of law.              And because Dr. Foley conceded

that   no   one    Weik    embodiment     anticipates      all    of    claim   9’s

limitations, the jury was entitled to find that the Weik patent

did not anticipate that claim.            (See, Foley Tr. 1023:14-19 (“Q:

[Y]ou couldn’t get all the elements of the claim here from one

of the embodiments, you needed to mix and match from the two

embodiments; is that right? A: I pulled from both as Weik very

clearly says modifications are expected.”).)                TTI’s JMOL Motion

is denied on these grounds.

                  H.    Literal Infringement of ‘966 Patent

       Dr. Rhyne walked through each element of each of claims 9,

14, and 15-18 of the ‘966 patent and explained that the Ryobi

GDO infringes each one.          (Rhyne Tr. 318:11-328:1.)            Against this

evidentiary backdrop, TTI argues that a reasonable jury still

could not find TTI literally infringed because the ‘966 patent

recites “a battery charging station in electrical communication

with a rechargeable battery” and “a method of power flow between

at least one rechargeable battery, a barrier movement operator,

[and] electrically powered equipment other than and physically

separate    or    separable     from    the     barrier   movement      operator.”

(‘966 Patent 8:10-11, 40-44, Dkt. 1-1 (emphasis added).)                        TTI

maintains, not for the first time, that because it does not sell

the    Ryobi     GDOs    with   rechargeable      batteries      or    any   other,

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separate   electrical      equipment,    they    cannot    be    found   to    have

infringed the ‘966 patent.

     While    “one   may   not   be    held    liable    under    §   271(a)    for

‘making’ or ‘selling’ less than a complete invention,” Rotec

Indus., Inc. v. Mitsubishi Corp., 215 F.3d 1246, 1252 (Fed. Cir.

2000), several courts have found that where an alleged infringer

sells “all of the elements of the patented combination as a

single, albeit disassembled, unit,” reasonable juries may find

that the defendant sells a complete system and thus infringes.

EBS Auto. Servs. v. Ill. Tool Works, Inc., No. 09 CV 996, 2011

WL 4021323, at *8 (S.D. Cal. Sept. 12, 2011); see also, St.

Clair   Intellectual     Prop.   Consultants,      Inc.    v.    Toshiba      Corp.,

No. CV 09-354, 2014 WL 4253259, at *3 (D. Del. Aug. 27, 2014)

(denying     defendant’s     motion     for    summary     judgment      on    non-

infringement where defendant sold “separate components that, if

attached together, may infringe the patent”); Immersion Corp. v.

Sony Computer Entm’t Am., Inc., 2005 U.S. Dist. LEXIS 4777, at

*16-17 (N.D. Cal. Jan. 10, 2005) (denying JMOL where defendant

advertised and sold the accused products as part of a “system,”

frequently    highlighted     compatibility      between    those     separately

sold elements, and end-users needed only perform “a few simple

steps” to connect the elements, even though end-users could use

combined system in non-infringing manner if they so chose).

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      Here, Chamberlain presented evidence that the Ryobi GDOs

and   the    Ryobi     battery     are    configured        to     fit     and    operate

together, and that both the GDOs’ packaging and a video on the

Ryobi website suggest coupling the GDO and the battery.                            (Rhyne

Tr. 407:10-408:21.)         Dr. Rhyne further testified that “[This is]

the way Ryobi advertises.           It’s part of all of the benefits and

features of this system.           It’s important to have that battery in

there to give you backup in case the AC power goes out.”                               (Id.

408:18-21.)      In addition, Dr. Rhyne testified that at some point

(though no longer) Ryobi gave consumers a free battery when they

purchased    a   GDO.       (Id.   328:18-24.)        From       this    testimony,       a

reasonable jury could conclude that TTI’s sale of its GDO and

battery     comprise    a   complete      system    which     infringes          the   ‘966

patent.

      Finally, TTI’s argument that Chamberlain failed to produce

substantial      evidence      showing      the     Ryobi     GDOs       infringe      the

limitation in claims 15-18 concerning a method of power flow

between a rechargeable battery, a barrier movement operator, and

“electrically        powered     equipment        other     than     and     physically

separate or separable from the barrier movement operator” fairs

no better.       Dr. Rhyne testified that the Ryobi system provided

power from the battery to other electrically powered equipment

such as “drills, saws, and flashlights.”                         (Rhyne Tr. 326:14;

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accord id. at 327:23-328:1.)                 TTI’s Motion for JMOL on literal

infringement of the ‘966 patent is denied.

                 I.    Induced Infringement of ‘966 patent

     To win a claim for induced infringement, a plaintiff must

prove   specific           intent    and    action     to     induce   infringement.

Cleveland Clinic Found. v. True Health Diagnostics LLC, 859 F.3d

1352,   1364   (Fed.        Cir.    2017).      TTI    points    to    evidence     that

approximately eighty percent of Ryobi GDO purchasers do not use

rechargeable,     Ryobi       One+    batteries       in    conjunction    with   their

GDO, and that “where a product has substantial noninfringing

uses, intent to induce infringement cannot be inferred even when

the [alleged inducer] has actual knowledge that some users of

its product may be infringing the patent.”                       Warner-Lambert Co.

v. Apotex Corp., 316 F.3d 1348, 1365 (Fed. Cir. 2003).                       However,

“liability for active inducement may be found ‘where evidence

goes beyond a product’s characteristics or the knowledge that it

may be put to infringing uses, and shows statements or actions

directed to promoting infringement.’” AstraZeneca LP v. Apotex,

Inc., 633 F.3d 1042, 1059 (Fed. Cir. 2010) (quoting Grokster,

545 U.S. at 935) (citation omitted).                   “Evidence of active steps

. . .    taken        to     encourage       direct        infringement,     such     as

advertising an infringing use or instructing how to engage in an



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infringing use, show an affirmative intent that the product be

used to infringe.”      Id. (quoting Grokster, 545 U.S. at 936).

      Here, Dr. Rhyne testified that TTI encourages consumers to

use a Ryobi One+ battery with the Ryobi GDO.               Specifically, Dr.

Rhyne described how TTI advertised, including on the Ryobi GDO

packaging, that the GDO was battery compatible and that the two

should be combined. (Rhyne Tr. 328:2-330:15.)              This suffices for

substantial evidence from which a reasonable jury could conclude

that TTI took action directed to promoting infringement.                     See,

AstraZeneca, 633 F.3d at 1059.           In light of that, the Court will

not disturb the jury’s findings by granting JMOL.

             J.   Willful Infringement of the ‘966 Patent

      As with the ‘275 patent, the Court declines to overturn the

jury’s finding that TTI willfully infringed the ‘966 patent.

The   jury   heard    evidence    that    TTI   investigated      possible    IP

pitfalls and learned about the ‘966 patent as far back as 2010.

(See, e.g., Huggins Tr. 609:23-611:10.)              And yet, as described

more fully below, the jury heard very little, if any, evidence

of TTI taking steps to avoid infringing the ‘966 patent, even

though TTI was well aware of it.              (See, infra at Part IV.)          A

reasonable jury could well conclude from this evidence that TTI

willfully infringed the ‘966 patent, so the Court will not grant

JMOL on this ground.

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                               K.   Damages Verdict

      At last, TTI challenges the jury’s finding that Chamberlain

is   entitled    to    lost    profits     damages.          One    useful,    but       non-

exclusive method to establish a patentee’s entitlement to lost

profits is the Panduit test, which requires four showings: (1)

“demand for the patented product”; (2) “absence of acceptable

noninfringing         substitutes”;       (3) “manufacturing           and    marketing

capability to exploit the demand”; and (4) “the amount of profit

that . . . would have [been] made.”                  Georgetown Rail Equip. Co.

v. Holland L.P., 867 F.3d 1229, 1241 (Fed. Cir. 2017) (quoting

Panduit Corp. v. Stahlin Bros. Fibre Works, 575 F.2d 1152, 1156

(6th Cir. 1978)) (alternations in original).

      TTI argues that Chamberlain could not satisfy the second

Panduit     factor      because     the     Genie     Aladdin       Connect        was     an

acceptable,      noninfringing      substitute        available       on     the    market

during the relevant timeframe.                     True, the evidence at trial

demonstrated that the Aladdin Connect was available, (Hansen Tr.

491:7-11),      and    non-infringing,       (Rhyne     Tr.    392:18-22),         but     it

does not necessarily follow that it was also an “acceptable

substitute.”          TTI puts a lot of stock in one selection from

testimony    given      by    Chamberlain’s        damages    expert,      Mr.     Hansen.

Shortly   after       Hansen    acknowledged        that     Home    Depot    sold       the



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Aladdin   Connect     during         the    relevant       timeframe,      the    following

exchange occurred:

      Q. And so at least as far as Home Depot is concerned,
      that system is acceptable?

      A. It’s – it’s an alternative. It’s an alternative
      that they make available for their customers, provide
      an additional choice.

      Q. It’s an acceptable alternative to Home Depot?

      A. I would agree that it’s acceptable to Home Depot. I
      wouldn’t expect them to sell products that they don’t
      think are acceptable at some level.

(Hansen Tr. 492:2-10.)               But all Hansen says here is that Home

Depot finds the Aladdin Connect to be an acceptable product to

stock and sell.        Absent from this selection is any indication

that this product, beyond being an acceptable “alternative,” is

an acceptable substitute for the infringing Ryobi GDOs.                                       The

“[m]ere   existence        of    a     competing        device    does     not   make        that

device an acceptable substitute.”                       TWM Mfg. Co. v. Dura Corp.,

789 F.2d 895, 901 (Fed. Cir. 1986).                      Further, a “product lacking

the   advantages      of        that    patented         can     hardly     be    termed       a

substitute      ‘acceptable’           to        the    customer     who     wants          those

advantages.”      Id. (quoting Panduit Corp., 575 F.2d at 1162).

The   Aladdin    Connect         does       not    share    the    advantages          of    the

infringing    Ryobi    GDOs       and       so    TTI   cannot     hold    it    out    as     an

acceptable substitute.               For one, the Aladdin Connect employs a


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separate, powered wall control and a door sensor, which require

additional setup, providing a greater chance for “frustration

and/or failure.”        (Sorice Tr. 182:5.)             The Aladdin Connect thus

lacks   the    out-of-the-box            connectivity   that,     according       to   the

record, makes the Chamberlain and Ryobi GDOs uniquely attractive

to   vendors    and    customers         alike.      (See,     Farrah    Tr.     519:4-8;

accord Hansen Tr. 483:2-484:12, 497:6-498:12.)

       On the basis of this evidence, a reasonable jury could find

“a reasonable probability” that the Ryobi GDO sales would not

have    been   made     but        for    the   infringement.           See,     Presidio

Components, Inc. v. Am. Tech. Ceramics Corp., 702 F.3d 1351,

1361 (Fed. Cir. 2012) (citation omitted).                       The jury’s damages

finding will thus stand.

                      II.    TTI’s Motion for a New Trial

       Under Federal Rule of Civil Procedure 59, a new trial may

be   granted   where        “the    verdict     is   against    the     weight    of   the

evidence, the damages are excessive, or if for other reasons the

trial was not fair to the moving party.”                        Mid-Am. Tablewares,

Inc. v. Mogi Trading Co., 100 F.3d 1353, 1367 (7th Cir. 1996)

(citations and internal quotations omitted).                          The trial court

may assess the credibility of the witnesses and the comparative

strength of the facts put forth at trial, but should maintain

certain deference to the jury’s conclusions.                     Galvan v. Norberg,

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678 F.3d 581, 588 (7th Cir. 2012) (citation omitted). TTI argues

that   there     are   four,   independently    sufficient     reasons    it   is

entitled to a new trial: (1) the Court erroneously permitted the

jury to determine the scope of the claims; (2) prejudicial and

erroneous evidentiary rulings; (3) inconsistent verdicts given

the    Court’s    doctrine-of-equivalents       instruction;     and   (4)     the

Court should have granted TTI’s pre-trial motion to transfer

venue.

       A.   Whether the Jury Determined the Scope of the Claims

       This marks the latest instantiation of TTI’s argument that

the      ‘275      patent       claims     require       transmitting          two

conditions/states occurring at the same time.               The heart of the

matter is the meaning behind this language, from claim 1: “a

present operational status condition defined, at least in part,

by at least two operating states from the plurality of operating

states.”     (‘275 Patent, 8:15-17, Dkt. 1-2.)            TTI points to the

Court’s end-of-trial statement that “there was a clear dispute

between the experts on what ‘defined’ means” (Tr. 1391:1-3) to

argue that there was thus a “fundamental dispute regarding the

scope of a claim term,” which must be resolved by the Court and

not the jury.          O2 Micro Int’l Ltd. v. Beyond Innovation Tech.

Co., 521 F.3d 1351, 1362 (Fed. Cir. 2008).                    TTI argues the

situation at bar mirrors the Federal Circuit decisions in O2

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Micro and NobelBiz, Inc. v. Global Connect, L.L.C., 701 F. App’x

994, 998 (Fed. Cir. 2017), in which the Federal Circuit vacated

jury verdicts after the respective district courts permitted the

jury to determine the scope of the asserted claims.

       The Court does not see the parallel between those cases and

this one.      In both of those cases, the parties “presented a

clear dispute regarding the proper scope of the claims” during

pre-trial claim construction.           NobelBiz, 701 F. App’x at 997;

cf. O2 Micro, 521 F.3d at 1359 (noting that parties argued over

at-issue     construction     during     Markman     hearing).         In   both

instances, the district court failed to provide any construction

for the contested element, choosing instead to allow the “plain

and ordinary meaning” to prevail.              NobelBiz, 701 F. App’x at

997;   O2   Micro,   521   F.3d   at   1361   (reciting     district    court’s

refusal to “construe claim terms that have a well-understood

meaning”).     The Federal Circuit took issue with both district

court determinations, opining that the respective trial courts

“failed to resolve the parties’ dispute[s] because the parties

disputed not the meaning of the words themselves, but the scope

that should be encompassed by th[e] claim language.”                 O2 Micro,

521 F.3d at 1361 (emphasis in original); cf. NobelBiz, 701 F.

App’x at 997.



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       But the pattern present in NobelBiz and O2 Micro is not

present      here.        TTI        did    not        press    for    a    construction            of

“defined”;        rather,     the     parties          sought    a    construction           of    the

encapsulating claim language “a controller having a plurality of

potential     operational            status       conditions         defined,        at    least    in

part,   by    a    plurality         of    operating         states.”       This          the    Court

provided,        to    wit:     “a     programmable            platform         (such      as,     for

example,     a    microprocessor,             a    microcontroller,             a    programmable

logic or gate array, or the like), that can obtain, though self-

awareness     or      through        externally         developed        information            (e.g.,

from    sensors),         two    or         more       potential       operational              status

conditions defined, at least in part, by two or more operational

conditions        being   experienced             by    the     controller          [programmable

platform].”           Chamberlain, 2017 WL 1304559, at *8 (brackets in

original) (emphasis added).                  While it is true that TTI initially

suggested in its opening Markman briefs that “defined by” should

be should be construed as “determined by” (Dkt. 151 at 10-11,

14; Dkt. 188 at 7-8), TTI apparently abandoned that suggestion

before the Court ruled.                    As Chamberlain observes, TTI ended up

proposing a construction that mimics the “defined by” language

TTI now claims spawned a grave legal error.                              (TTI’s Supp. Claim

Constr. at 11, Dkt. 286 (proposing construction: “ . . . where

each    potential       status       condition          is     defined     by       at    least    two

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actions that can be performed by the controller at a particular

time”).)        Indeed, the Court went so far as to note in its

Markman       decision      that    “[n]either          side      proposes         to     construe

‘defined,’” Chamberlain, 2017 WL 1304559, at *10—an observation

that TTI never took issue with until after the close the trial.

       Ultimately,         TTI’s     complaint          is       not    directed          to    some

purported failure by the Court to define the scope of these

claims.       Rather, TTI is simply relitigating its already-defeated

grievance that the Court’s construction of claim 1 was different

than what TTI urged.                As described, TTI urged the Court to

construe      the    recited       status     condition          as     defined      by    actions

performed by the controller.                  But the Court declined to do so in

light    of    the    specification,             observing        that       the    “‘operating

states’    recited         in    dependent        claim      5    [cannot]         be     read    as

uniformly       or    as    broadly”        as    TTI     suggested.               Id.          After

consulting      the    prosecution        history        and      the    Federal         Circuit’s

claim    construction           ruling   in      this   case,          the   Court       construed

“operating states” not as actions taken by the controller, but

rather    as    “operational         conditions          being         experienced         by    the

controller.”         Id. at *13.         Further, the Court made clear during

this     litigation         that      the        “operational            conditions            being

experienced” are not limited, in the Court’s construction, to



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only potential or only present conditions.                   (See, e.g., June 21,

2017, Summary Judgment Order at 4, Dkt. 397.)

       In its new trial Motion, TTI basically argues that even

though the parties did not propose or seek a construction of

“define,” the Court’s construction of the encapsulating claim

language      did   not   provide    sufficient       clarification      as   to   the

scope of claims.          (Mem. in Supp. of New Trial at 5, Dkt. 620

(“The Court provided little guidance. . . .”).)                     This is odd.

If TTI believed the Court’s constructions were not sufficient,

TTI should have requested further construction.                     Yet this TTI

never did, even as discovery progressed and the parties’ experts

began tendering their reports.                Now TTI maintains that these

experts testified not to the meaning of the construed language,

but rather to the claim scope, and that the Court then submitted

those     competing       interpretations       of     law    to   the    jury     for

deliberation.

       There is problem with TTI’s argument.                  Put simply, beyond

TTI’s initial, and quickly abandoned, suggestion that the Court

construe “defined by” as “determined by,” TTI never requested

that    the     Court     construe     this     now-challenged       phrase,       nor

suggested that some allegedly lacking construction could open

the door to legal error.            TTI did not object while Chamberlain’s

experts        testified—TTI          would          now     presumably          argue

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inappropriately—concerning the meaning of “experienced by,” nor

when the Court instructed the jury and placed this question in

their hands.        “[L]itigants waive their right to present new

claim construction disputes if they are raised for the first

time after trial.”          Broadcom Corp. v. Qualcomm Inc., 543 F.3d

683, 694 (Fed. Cir. 2008) (quoting Conoco, Inc. v. Energy &

Envtl. Int’l, L.C., 460 F.3d 1349, 1358-59 (Fed. Cir. 2006)).

And that is what TTI is attempting to do.                      TTI leans on the

Court’s close-of-trial (but pre-jury-deliberation) comment that

a “clear dispute” existed between the experts on what “defined”

means, but in making that remark, the Court was thinking only of

the factual dispute between experts concerning the meaning of

the claim term.         If a misapprehension of this comment struck TTI

like a lightning bolt and for the first time caused TTI to see

some legal deficiency in the Court’s constructions, TTI should

have said so.       Because TTI did not, TTI has waived this claim

construction argument.          TTI never requested that the district

court    construe   the     complained-of        term    and   did    not   offer   a

construction; instead, TTI waited until “after the presentation

of all of the evidence to the jury [to] even suggest that claim

construction might be helpful to determine the proper scope of

the     claimed   invention.”       Eli      Lilly      &   Company    v.   Aradigm

Corporation,      376    F.3d   1352,    1360    (Fed.      Cir.   2004)    (finding

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defendant had waived its right to request claim construction).

TTI’s request comes too late.            It has waived the argument.

                          B.    Evidentiary Rulings.

      Before   trial,     TTI    moved    in    limine    to     exclude   that    the

Patent Trial and Appeal Board (“PTAB”) declined to institute

inter partes     reviews (“IPRs”) of the asserted patents.                         The

Court denied that motion, and TTI now argues that permitting

this evidence to go to the jury created prejudice and juror

confusion that necessitates a new trial.                    The PTAB relied on

different     claim    constructions      than    did     this    Court,    and   TTI

argues that allowing this evidence risks that the jury could

have improperly substituted the PTAB decisions—or Chamberlain’s

characterization of those decisions—for the jury’s own findings.

The   Court     disagrees.         In     Microsoft       Corp.     v.     i4i    Ltd.

Partnership,     564     U.S.    91,     111    (2011),     the     Supreme      Court

explained that improper effects on juries of introducing PTO

determinations     can   be     mitigated      with   a   limiting    instruction:

“When warranted, the jury may be instructed to consider that it

has heard evidence that the PTO had no opportunity to evaluate

before granting the patent.              When it is disputed whether the

evidence presented to the jury differs from that evaluated by

the PTO, the jury may be instructed to consider that question.”

TTI requested, and the Court gave, such an instruction in this

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case: “The ‘275 and ‘966 patents were the subject of proceedings

at the Patent Office called inter partes reviews (“IPR”).                    The

legal standards applied by the Patent Office differ from the

legal standards that you must apply. For example, Patent Office

proceedings may have involved different claim constructions than

this Court’s claim constructions.”              (Jury Instruction No. 33,

Dkt. 606.)      Allowing the PTAB history was not an evidentiary

error warranting a new trial.             Cf. Universal Elecs., Inc. v.

Universal    Remote     Control,     Inc.,    No.   CV 12-00329,      2014    WL

8096334, at *7 (C.D. Cal. Apr. 21, 2014) (denying motion in

limine seeking to exclude evidence of PTO’s rejection of IPR

petition).

     TTI also argues that the Court erred by applying Local

Patent Rule 3.4’s good cause standard in barring the tardily-

disclosed Kikuya reference and the Weik device.               But the Federal

Circuit has explained that the use of local patent rules falls

within a district court’s “broad power to control its docket and

enforce its order.”          Keranos, LLC v. Silicon Storage Tech.,

Inc., 797 F.3d 1025, 1035 (Fed. Cir. 2015) (citations omitted).

TTI failed to show good cause for its late amendments to its

invalidity contentions, and this Court permissibly barred the

prior art.     See, United States v. Calabrese, 572 F.3d 362, 368

(7th Cir. 2009) (district courts have “broad latitude to control

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the admission of evidence”).           TTI’s assertion that this excluded

prior art would have been relevant to the case does not change

the fact of its proscriptively tardy disclosure.

                   C.    Doctrine of Equivalents Grounds

     TTI argues a new trial is warranted if the Court agrees, as

TTI sets out in its JMOL Motion, that the theory of equivalents

should not have gone to the jury. As described above, however,

the Court does not agree, so this first argument fails.

     TTI    next    argues    that     because    literal   infringement     and

doctrine-of-equivalents        infringement       were   mutually       exclusive

options for the jury, the jury’s finding of liability on both

theories    suggests      a   new-trial-worthy       inconsistency.         True,

infringement under the doctrine of equivalents is an equitable

doctrine intended to apply ‘in situations where there is no

literal     infringement[,]           but   liability       is    nevertheless

appropriate.”       Hormone Research Found., Inc. v. Genentech, Inc.,

904 F.2d 1558, 1564 (Fed. Cir. 1990) (citation omitted).                  Still,

the differences between these two theories of liability are not

“fatally inconsistent,” Adv. Display Sys., Inc. v. Kent State

Univ., No. 3-96 CV 1480, 2002 WL 1489555, at *5 (N.D. Tex.

July 10,    2002)       (collecting    cases     demonstrating    the     Federal

Circuit’s tacit approval of “the common practice of submitting

patent cases under both theories”), and the jury’s twin verdicts

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do not mandate a new trial, see, id. (refusing to disturb the

verdict “merely because the jury found both literal infringement

and infringement under the doctrine of equivalents,” and instead

reforming the verdict and entering judgment only on the literal

infringement finding).         Beyond this, TTI waived the objection it

raises now by failing to object before the Court discharged the

jury.    See, Strauss v. Stratojac Corp., 810 F.2d 679, 683 (7th

Cir. 1987) (holding that counsel’s failure to object to alleged

inconsistencies in special interrogatories before the jury had

been discharged constituted waiver).             The Court will not on this

basis order a new trial.

              D.   The Court’s Refusal to Transfer Venue

     Once more, TTI raises a venue argument predicated upon the

Supreme Court’s recent decision in TC Heartland LLC v. Kraft

Foods Group Brands LLC, 137 S. Ct. 1514 (2017).                (Cf. TTI’s Mot.

Trans. Venue, Dkt. 392.)         But TTI’s argument is not identical to

the one it advanced in its pretrial motion to transfer venue;

this new version has a twist.          At issue here is the patent venue

statute, 28 U.S.C. § 1400(b), and the recently evolved case law

contrasting its scope with that of the general venue statute, 28

U.S.C.   § 1391(c).       In   1988    and     then   2011,   Congress   amended

§ 1391 to make it broader, creating venue not only for corporate

defendants incorporated within a court’s forum, but also for

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corporate        defendants             subject      to      that       court’s           personal

jurisdiction.          See, In re Micro Tech., Inc., 875 F.3d 1091,

1098-99    (Fed.       Cir.    2017).           Courts      then     began      applying        the

Congressionally-broadened                  scope     of     § 1391       to    patent        cases

governed    by       § 1400,       even     though      Congress        had    not    similarly

amended    the    patent-specific              statute.          See,    e.g.,       VE    Holding

Corp. v. Johnson Gas Appliance Co., 917 F.2d 1574, 1582 (Fed.

Cir. 1990) (holding that the expansion of § 1391 applied to

§ 1400 as well), abrogated by TC Heartland, 137 S. Ct. 1514.

With TC Heartland, the Supreme Court put a stop to this.                                        The

Court held that under the patent venue statute, a corporation

only “resides” in its state of incorporation—and nowhere else.

TC Heartland, 137 S. Ct. at 1517.

     This ruling raised eyebrows for parties like TTI, who by

the time of the TC Heartland decision were deeply enmeshed in

patent    litigation          in    a     forum     where    none       of     the    domestic,

corporate defendants were incorporated.                           A month after the TC

Heartland opinion came out and two months before this trial was

set to begin, TTI moved this Court to transfer the case to South

Carolina.       The Court denied that motion, finding that because TC

Heartland did not represent a change in the law, TTI had waived

objections      to    venue        by    (1)   failing      to    contest      venue       in   its

answer    and    (2)    twice           admitting    that    venue       was    proper      here.

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Chamberlain, 2017 WL 3205772, at *2 (citing Cobalt Boats, LLC v.

Sea Ray Boats, Inc., 254 F. Supp. 3d 836, 840 (E.D. Va. 2017)).

The Court also remarked upon the extensive judicial resources

already expended on this matter that would need to be spent once

more if the case were transferred.                 Id.

      That might have been the end of it.                     But since the Court’s

ruling, the Federal Circuit published In re Micron Technology,

Inc., 875 F.3d 1091, 1093 (Fed. Cir. 2017) in which the court of

appeals made clear that TC Heartland changed the controlling law

and   rendered      the    waiver    of    venue     objections        inapplicable—at

least      in    certain    instances.           Now,      TTI    argues     its    venue

objections       cannot     be   stripped        away    by      waiver    given    those

objections       were      not   even     available        under       then-controlling

authority.        But TTI ignores half of Micron’s holding, and that

other half undermines TTI’s position.                    Simply put, Micron drew a

line between two classes of waiver: waiver under Federal Rule of

Civil Procedure 12(g)(2) and (h)(1)(A), and waiver under the

“less   bright-line,        more    discretionary         framework”       extant    in   a

trial court’s “inherent powers.”                   Id. at 1094, 1100 (citation

omitted).        Micron thus held that district courts have authority

to find forfeiture of a venue objection separate and apart from

a   Rule    12   shortcoming.        Id.    at     1101;      accord    Neirbo     Co.    v.

Bethlehem Shipbuilding Corp., 308 U.S. 165, 168 (1939) (“Being a

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privilege, [venue] may be lost. It may be lost by failure to

assert it seasonably, by formal submission in a cause, or by

submission through conduct.”).

     Finding      waiver    is    appropriate          here.        By    the    time   the

Supreme Court announced TC Heartland, the Chamberlain/TTI trial

date was only three months away.                   Still, TTI waited another

month    before    filing       its    TC   Heartland          motion     to     transfer.

(Dkt. 392.)       This     unnecessary         delay    is     problematic        for   two

reasons.       First,    with    the    trial     date       fast    approaching,       the

parties continued to burn resources in discovery and pre-trial

motion     practice,     and     the    Court     expended          its   own    energies

mediating      these    disputes.        The     parties       exchanged        discovery,

submitted    expert     reports,       answered    one       another’s      claims,     and

attended two in-court hearings.                Second, TTI’s counsel chose not

to delay in raising a TC Heartland argument in another matter.

During   the    month-long       interregnum      in     the    instant        litigation,

TTI’s counsel moved—a mere eight days after the Supreme Court

published TC Heartland—to transfer venue in another case pending

in the Eastern District of Virginia.                   See, Cobalt Boats, 254 F.

Supp. 3d at 839-40.             The Virginia district court denied that

motion, id., and counsel sought a writ of mandamus from the

Federal Circuit, which was denied, In re Sea Ray Boats, Inc.,

695 F. App’x 543 (Fed. Cir. 2017).                 Only then did counsel file

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the TC Heartland motion to transfer venue in the instant case.

Chamberlain       suggests    this    behavior      has    the     hallmarks       of    a

“tactical wait-and-see” approach which enabled TTI’s counsel to

reshape their TC Heartland argument as necessary in the instant

case depending on the relative success of their first attempt in

Virginia.         The   Federal      Circuit     took     care     to    suggest        the

potentially problematic nature of such gamesmanship: “We also

note a scenario that presents at least an obvious starting point

for   a   claim    of   forfeiture,      whether     based       on     timeliness      or

consent or distinct grounds: a defendant’s tactical wait-and-see

bypassing of an opportunity to declare a desire for a different

forum, where the course of proceedings might well have been

altered by such a declaration.”             Micron, 875 F.3d at 1102.                   And

finally,    though      the   Federal    Circuit     chose       not    to   provide      a

specific framework for when courts may find waiver by means

other than noncompliance with Rule 12, the court of appeals

approvingly recited its past denials of mandamus “in several

cases involving venue objections based on TC Heartland that were

presented close to trial.”            Id. at 1102.         One of the recounted

denials was the one in this case.                Id. at 1102 n.4 (citing In re

Techtronic Indus. N. Am., Inc., No. 17-125, 2017 WL 4685333, at

*1 (Fed. Cir. July 25, 2017) (denying TTI writ of mandamus)).

The framework for finding such waivers is not yet defined, but

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two things are clear: One, this Court has the inherent power to

find TTI waived its venue objection, and two, because, with only

two months to go before trial, TTI engaged in the wait-and-see

tactics highlighted by the Federal Circuit, the Court does not

abuse its discretion by finding waiver here.                    TTI’s Motion for a

new trial is denied to the extent it relies upon TC Heartland

and TTI’s efforts to transfer venue.

       III.   Chamberlain’s Motion for a Permanent Injunction

     To     obtain     a    permanent       injunction,         a   plaintiff        must

demonstrate: (1) that it has suffered an irreparable injury; (2)

that remedies available at law, such as monetary damages, are

inadequate to compensate for that injury; (3) that, considering

the balance of hardships between the plaintiff and defendant, a

remedy in equity is warranted; and (4) that the public interest

would not be disserved by a permanent injunction.                      eBay Inc. v.

MercExchange,     L.L.C.,      547    U.S.     388,       391   (2006)   (citations

omitted).      Under       Federal   Rule    of    Civil    Procedure    65(d),       an

injunction     must    prohibit       “only       those     acts    sought      to    be

restrained,” namely, “infringement of the patent by the devices

adjudged to infringe and infringement by devices no more than

colorably different therefrom.”               Black & Decker Inc. v. Robert

Bosch Tool Corp., No. 04 C 7955, 2006 WL 3446144, at *2 (N.D.



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Ill.    Nov.    29,       2006)    (quoting    Int’l     Rectifier      Corp.   v.    IXYS

Corp., 383 F.3d 1312, 1317 (Fed. Cir. 2004)).

        A.     Irreparable Injury and Remedies Available at Law

       Much     of        TTI’s    rebuttal     to     Chamberlain’s      sought-after

injunctive relief turns upon TTI’s promise that it has abandoned

the production of infringing GDOs and has pulled all remaining

units from Home Depot’s shelves.                     Although TTI intends to sell

off its remaining stock of infringing units, TTI claims it will

soon sell only non-infringing GDOs.                    But TTI’s “cessation of the

production and sales of the [GDOs] is not—in and of itself—a

sufficient       reason      to    deny   a   permanent      injunction.        Instead,

there    must     also       be    some   persuasive         evidence    that     further

infringement will not take place.”                       Black & Decker, 2006 WL

3446144, at *4 (citing W.L. Gore & Assocs. v. Garlock, Inc., 842

F.2d 1275, 1282 (Fed. Cir. 1988), abrogated on other grounds as

recognized in Zoltek Corp. v. United States, 672 F.3d 1309, 1319

(Fed. Cir. 2012)).                That is not the case here, where TTI has

both admitted its intention to continue selling infringing GDOs

(at least in the short-term) and nowhere suggests it is bound to

its    promise       to    cease   quickly    that     sales    activity.       Cf.    id.

(granting       permanent          injunction        where    plaintiff     set      forth

evidence that future infringement “might” take place).



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       So     long        as     TTI       continues        to     sell    infringing      GDOs,

Chamberlain will suffer injury without an available, adequate

remedy.       Chamberlain has and will continue to suffer harm to its

market share, especially given the relatively inelastic nature

of GDOs.        The evidence bears this out: From April 2016–April

2017,    TTI    sold       more           than    62,000    GDOs,     about    a    quarter   of

Chamberlain’s total sales over a two year period, April 2015–

April 2017. (Hanson Tr. 438:5-439:2.)                             TTI was not a GDO-market

participant          prior           to     its     ‘275-infringing           sales.      “Direct

competition          in        the     same       market     is    certainly        one   factor

suggesting strongly the potential for irreparable harm without

enforcement of the right to exclude.”                            Presidio Components, Inc.

v. Am. Tech. Ceramics Corp., 702 F.3d 1351, 1363 (Fed. Cir.

2012) (citing Broadcom Corp. v. Qualcomm Inc., 543 F.3d 683, 703

(Fed. Cir. 2008)); cf. Douglas Dynamics, LLC v. Buyers Prod.

Co.,    717    F.3d       1336,        1338,      1345     (Fed.    Cir.    2013)    (reversing

district       court’s               denial       of     permanent         injunction      where

infringer’s market share grew from 0% to 5% over three years of

infringement).

       Further, continuing infringing sales may cause Chamberlain

to suffer “ecosystem” effects, whereby Ryobi GDO purchasers will

continue to buy Ryobi products and recommend them to others.

Apple Inc. v. Samsung Elecs. Co., 809 F.3d 633, 641 (Fed. Cir.

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2015); accord Hansen Tr. 462:15-17 (describing purchasers of one

Chamberlain product more likely to purchase further Chamberlain

products       and    recommend         same).         These    derivative       sales      are

significant here, where the participating GDO sellers seek to

profit     from      sales   of    GDO        accessories.        (See,    A.     Ely      Dep.

Designations          154:4-154:12,           Dkt.      611-2    (describing          Ryobi’s

intention that customers will buy Ryobi-branded accessories that

“go with” their Ryobi GDOs); TTI Internal Email at 2, Dkt. 623-6

(“You must make money in the accessories!!”).)                           On this record,

“mere damages will not compensate for a competitor’s increasing

share    of    the    market.”          Douglas      Dynamics,     717    F.3d       at   1345.

Under    such      circumstances,         a    patent    owner’s      right     to    exclude

“cannot       be   compensated      through          monetary    damages,”       especially

“because      it     is   impossible       to    determine      the   portions        of    the

market the patent owner would have secured but for the infringer

or   how      much    damage      was    done     to     the    patent    owner’s         brand

recognition or good will due to the infringement.”                               z4 Tech.,

Inc. v. Microsoft Corp., 434 F. Supp. 2d 437, 441 (E.D. Tex.

2006).

       Finally, Chamberlain’s unwillingness to license the patent

also     weighs      in    favor    of        finding    irreparable       injury.         See,

Presidio Components, 702 F.3d at 1363; cf. Acumed LLC v. Stryker

Corp., 551 F.3d 1323, 1328 (Fed. Cir. 2008) (“[That] a patentee

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has previously chosen to license the patent may indicate that a

reasonable royalty does compensate for an infringement”); Hansen

Tr. 459:13-460:24 (explaining that Chamberlain has not licensed

the asserted patents); Tate Tr. 1265:2-1266:1 (same).

      Beyond    showing    irreparable      harm   and   the   absence    of    an

adequate remedy, Chamberlain must also show that the harm bears

a   causal   nexus    to   the   infringing    activity.       Apple     Inc.   v.

Samsung Elecs. Co., 809 F.3d 633, 640 (Fed. Cir. 2015).                     This

showing requires only that the patented features “were related

to infringement and were important to customers.”                  Id. at 644.

As the Court previously observed in its preliminary injunction

order, both companies “target[] customers who want ‘connected’

GDOs, i.e., those connected by the controller to smart phones

through wireless transmissions.”             (Dkt. 107 at 15.)         At trial,

Chamberlain     produced    evidence       demonstrating    that   the    status

monitoring and data transmission disclosed by the ‘275 patent

are important to consumers.           (Hansen Tr. 443:15-18 (“Q: Does TTI

believe that the capability of the Ryobi garage door opener to

transmit     status   updates    is   an   important     feature   for   driving

sales? A: Yes.”); A. Ely Dep. Designations 232:3-10, Dkt. 611-2

(agreeing that “[t]he ability or the function of a Ryobi garage

door opener that allows a customer to monitor the status of the

garage door, that’s something that would incentivize customers

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to    buy   the    Ryobi     product.”).)             This    suffices          to    show    the

required nexus.            Genband US LLC v. Metaswitch Networks, Corp.,

861 F.3d 1378, 1382 (Fed. Cir. 2017) (stating that patentee must

show    that   the    patent       features     are    “a    driver”         for     demand    as

opposed to “the driver” (emphasis in original)).

                             B.    Balance of Hardships

       The balance weighs in favor of granting the injunction.

TTI    is   relatively       new   to     the   GDO    market,       and     TTI’s        damages

expert testified that TTI has not earned any gross or operating

profit      from   the     sale     of    the   Ryobi        GDO   as      of      July    2017.

(Corrected Supp. Expert Rpt. at 49, Dkt. 468-2.)                                     Aside from

their GDO sales, TTI maintains a multibillion dollar business.

In    contrast,      GDO    sales       make    up    the     core      of      Chamberlain’s

business.      (Sept. 15, 2016, Mem. Op. and Order at 17, Dkt. 107.)

Beyond this, TTI is “not entitled to continue infringing simply

because it successfully exploited its infringement.”                                   i4i Ltd.

P’ship v. Microsoft Corp., 598 F.3d 831, 863 (Fed. Cir. 2010),

aff’d, 564 U.S. 91 (2011) (citations omitted).                               The balance of

hardships favors injunction.

                                  C.     Public Interest

       “In general, public policy favors the enforcement of patent

rights.”       Black & Decker, 2006 WL 3446144, at *5 (citing Abbott

Labs. v. Andrx Pharms., Inc., 452 F.3d 1331, 1348 (Fed. Cir.

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2006); PPG Indus., Inc. v. Guardian Indus. Corp., 75 F.3d 1558,

1567 (Fed. Cir. 1996)).            The jury in this case found that TTI

willfully infringed the ‘275 patent.               Hence, it will serve the

public interest to protect Chamberlain’s property rights against

further infringement.         See, Apple Inc. v. Samsung Elecs. Co.,

809 F.3d 633, 647 (Fed. Cir. 2015).

                       D.   Breadth of the Injunction

      The Court finds a permanent injunction is appropriate, and

now   permanently       enjoins     TTI    from    infringing      or   inducing

infringement of claims 1, 5, or 15 of the ‘275 patent by making,

using, selling, or offering to sell in the United States, or

importing into the United States the Ryobi GD200, GD200A, and

any device no more than colorably different therefrom, until the

expiration      of   the    ‘275   patent,     including   any     patent    term

adjustments      and    extensions.       Beyond   this,   Chamberlain       also

requests    a   Court-approval       condition,    under   which    TTI     cannot

introduce any WiFi-capable GDO without prior permission from the

Court.     TTI responds that this proposed condition is overbroad

and impermissibly deters legitimate design-around efforts.                    See,

TiVo, Inc. v. EchoStar Corp., 646 F.3d 869, 883 (Fed. Cir. 2011)

(“[L]egitimate design-around efforts should always be encouraged

as a path to spur further innovation.”).               TTI instead proposes

“to   voluntarily      provide     [Chamberlain’s]    outside    counsel     with

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seven days’ notice of its intended launch date of any new GDO at

The Home Depot,” and to meet and confer regarding the same.

Finally, Chamberlain replies that if the Court is inclined to

impose    such    a    notice    condition      as    TTI     suggests,      the     notice

period should be two months, not seven days.                        To any extent, the

Court will not impose any of these additional conditions.                                 TTI

is enjoined from further infringing the ‘275 patent as set forth

above;    if    TTI    disregards      that    mandate,       TTI    will    likely       owe

Chamberlain       still    further        damages    and     possibly       find     itself

sanctioned by the Court.              This is specific enough under Federal

Rule of Civil Procedure 65 and should serve as an appropriate

disincentive       for    further      infringing       activity.           No    more     is

needed.

            IV.    Chamberlain’s Motion for Enhanced Damages

     When there is a finding of infringement, the Court                                   may

increase    the    damages      up   to     three    times    the    amount       found    or

assessed.       35 U.S.C. § 284.             “The subjective willfulness of a

patent infringer, intentional or knowing, may warrant enhanced

damages,       without     regard      to     whether       his     infringement          was

objectively reckless.”           Halo Elecs., Inc. v. Pulse Elecs., Inc.,

136 S. Ct. 1923, 1933.               Behavior deserving of enhanced damages

is   “egregious,”         or    “willful,      wanton,       malicious,          bad-faith,

deliberate,           consciously         wrongful,          flagrant,           or—indeed—

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characteristic of a pirate.”            Id. at 1932.        To prevail on a

motion     seeking   enhanced     damages,      a   patent-owner    must      show

enhancement is warranted by a preponderance of the evidence.

Id. at 1934.

     Though not a required part of the analysis, the nine so-

called Read factors provide useful guideposts for the Court’s

consideration.       Presidio Components, Inc. v. Am. Tech. Ceramics

Corp., 875 F.3d 1369, 1382 (Fed. Cir. 2017) (citing Read Corp.

v. Portec, Inc., 970 F.2d 816 (Fed Cir. 1992)); accord Styrker

Corp. v. Zimmer, Inc., No. 10 cv 1223, 2017 WL 4286412, at *3

(W.D.    Mich.   July   12,   2017)    (applying    Read   factors).         Those

factors are:

     (1)    whether the infringer deliberately copied                  the
            ideas or design of another;
     (2)    whether the infringer, when he knew of                     the
            other’s   patent  protection,   investigated               the
            patent and formed a good-faith belief that it              was
            invalid or that it was not infringed;
     (3)    the infringer’s behavior as a party to                     the
            litigation;
     (4)    the infringer’s size and financial condition;
     (5)    the closeness of the case;
     (6)    the duration of the misconduct;
     (7)    the remedial action by the infringer;
     (8)    the infringer’s motivation for harm; and
     (9)    whether the infringer attempted to conceal                 its
            misconduct.

See, Read Corp., 970 F.2d at 827.              The Court need not find that

every Read factor favors enhancement to order it.                   See, e.g.,

Arctic Cat Inc. v. Bombardier Recreational Prod., Inc., 198 F.

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Supp. 3d 1343, 1354 (S.D. Fla. 2016) (awarding enhanced damages

even where not all factors favored enhancement), aff’d, 876 F.3d

1350 (Fed. Cir. 2017).

      Here,   Chamberlain        says   TTI    acted    egregiously.         TTI,      of

course,   disputes       the   characterization,            claiming    instead    that

this litigation arose from a simple business dispute and that

its attorneys permissibly litigated with zeal.                       Before the Court

takes up the Read factors, it notes the relevant background:

First, during the time that TTI developed the Ryobi GDO 200, TTI

was   acutely    aware    that    the    enterprise         could    trespass     on   IP

rights if TTI were not careful.                  TTI’s primary customer, Home

Depot, acknowledged as much (Dkt. 642-5 at 2 (Trial Ex. No. PTX-

188) (describing IP research as “the main area of concern” with

the   Ryobi     GDO   development)),          and    TTI’s     internal     documents

described     possible    IP   problems       as     high    risk,    meaning   “[t]he

project is going to be adversely impacted by th[e] issue if it

is not addressed. Multiple risk reduction plans are necessary.”

(Dkt. 642-7 at 35, 37 (Trial Ex. No. PTX-67).)

      But TTI’s awareness of possible IP issues was not limited

to the abstract.         Several events put TTI on notice of both the

‘275 and the ‘966 patents specifically.                     As to the former: TTI

engineers     acquired     Chamberlain        GDOs    which    practice     the    ‘275

patent; these engineers disassembled the devices and used the

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internal parts to make a demo of the Ryobi device that TTI

presented to Home Depot.              (Huggins Tr. 601:17-603:2.)          At the

time the TTI engineers took apart Chamberlain’s GDO, it was

marked,    in   a   place    plainly     visible   upon     deconstructing    the

device, as practicing the ‘275 patent.                     (Huggins Tr. 605:9-

606:12.)    Despite admitting both the visibility of this marking

and the fact that TTI took apart the Chamberlain unit (see,

id.), TTI’s employees testified that they never saw the ‘275

patent marking. (TTI’s Resp. to Mot. for Enhanced Damages at 14,

Dkt. 645 (collecting citations to trial transcript).)                   This is

not the only example of TTI being put on notice of the ‘275

patent, however.       During the Ryobi GDO development phase, TTI

hired a consultant who had previously worked at Overhead Door,

another market competitor.             This consultant had been aware of

the ‘275 patent while at Overhead Door and advised TTI that it

would need to be careful of the intellectual property rights

around     “wireless        devices     and     [GDOs].”        (Carlson     Dep.

Designations 37:13-15, 37:17-38:8, 56:4-7, 70:7-11, Dkt. 610-1.)

TTI was also on notice during this time—and indeed, long before—

of the ‘966 patent.          TTI filed a PCT application back in 2009,

and international search reports indicated that it faced novelty

and obviousness problems in light of the ‘966 patent.                       (Dkt.

623-9 at 27 (Trial Ex. No. PTX-630).)              TTI learned of the patent

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again   in     February    2015     during          GDO    development.       (TTI’s      Fifth

Supp.    Answers     to    Chamberlain’s             First      Set    of   Interrogatories

at 9, Dkt. 624-9.)

                                   A.    Read Factors

       Deliberate Copying.          Here, “the evidence show[s] that [TTI]

was    aware    of   [Chamberlain’s               GDO]    and   intended      to   develop      a

product      with    similar   capabilities.”                   Polara      Eng’g,      Inc.   v.

Campbell Co., 237 F. Supp. 3d 956, 992 (C.D. Cal. 2017) (finding

circumstantial         evidence         of        deliberate      copying        “nonetheless

compelling”).           Further,        TTI’s       purported         attempts     to    design

around the ‘275 patent only came six months after Chamberlain

filed this suit (see, Notice of Redesign, Dkt. 203), and even

then    the    Court      judged    that           redesign      to    be    not     colorably

different, Chamberlain, 2017 WL 368027, at *3-4.                               This conduct

suggests faith worse than the defendant’s in Westvaco Corp. v.

International Paper Co., 991 F.2d 735 (Fed. Cir. 1993), where

the defendant took pains to design around an existing patent in

the    first    instance.      Id.           at    738-40,      746    (reversing       damages

enhancement).        This factor weighs in favor of enhanced damages.

       Good     Faith      Belief        of        Invalidity         of    Noninfringement

Predicated upon Investigation of Patent.                              As set forth above,

TTI not only knew that development in the wireless/WiFi-capable

GDO space could raise IP problems, TTI also knew of ‘275 and the

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‘966 patents specifically.             And yet, despite being aware of the

risk    of    infringement,     there    is      no    suggestion     that    TTI     did

anything to avoid colliding with it head-on.                     Cf. Apple Inc. v.

Samsung Elecs. Co., 258 F. Supp. 3d 1013, 1032 (N.D. Cal. 2017)

(“The absence of evidence of an adequate investigation and of

Samsung’s reliance on its defenses weighs in favor of enhanced

damages.”).      This factor weighs in favor of enhanced damages.

       TTI’s Litigation Behavior.             Both parties make much of this

factor and spend many pages contesting whether and when TTI

misbehaved in litigation.            The Court will not nitpick each of

these contests now, though it will note one moment in which TTI

behaved      less    than     admirably.              Chamberlain     moved     for     a

preliminary injunction and the Court granted it on September 15,

2016.     (Mem. Op. and Order, Dkt. 104.)                  But the Court did not

actually enter that injunction until five days later.                           (Order,

Dkt. 111.)       In that brief interim, TTI sold off approximately

6,000 of the original GD200s to Home Depot.                         (See, Ex. J to

Enhanced Damages Mot., Dkt. 624-11.)                   TTI thus unloaded (since-

determined-to-be)           infringing     stock          despite      the      Court’s

announcement that it intended to halt all such sales imminently.

That    the     Federal      Circuit     later         vacated   the     preliminary

injunction      is   no   defense;     possible        vacatur   on    appeal    is    no



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excuse for disregarding a court order.               This factor also weighs

in favor of enhanced damages.

      TTI’s Size and Financial Condition.             TTI is a multibillion

dollar company with the means to absorb $11.4 million in treble

damages.       See,   Metabolite     Labs.,   Inc.   v.   Lab.    Corp.    of   Am.

Holdings, 370 F.3d 1354, 1371 (Fed. Cir. 2004) (affirming award

of enhanced damages based in part on fact that defendant “is a

large company with extensive financial means”).                    This factor

weighs in favor of—or at least does not weigh against—enhanced

damages.

      Closeness of the Case.          This case was not close.            TTI lost

on   every   issue    at   trial   after   less   than    two    hours    of    jury

deliberation.     See, SRI Int’l, Inc. v. Cisco Sys., Inc., 254 F.

Supp. 3d 680, 723 (D. Del. 2017) (enhancing damages in part

because defendants “lost on all issues during summary judgment

and trial”); cf. Engineered Prod. Co. v. Donaldson Co., 147 F.

App’x   979,    992   (Fed.   Cir.    2005)   (affirming    award    of     treble

damages where “this was not a close case of infringement, as

evidenced by the strong showing of willful infringement”).                       The

fact that some of TTI’s positions had merit does not turn the

tables.      See, Styrker Corp., 2017 WL 4286412, at *3 (“[T]he

objective reasonableness the Federal Circuit found for a handful

of [defendant’s] litigation positions in no way detracts from

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the    lopsided       victory        [plaintiff]        garnered          on    the   core

issues[.]”).        This factor weighs in favor of enhanced damages.

      Duration       of    Misconduct.         TTI’s    infringing         behavior      has

spanned the whole of TTI’s participation in the GDO marketplace

to date.      (TTI’s Resp. to Enhanced Damages Mot. at 13 n.10, Dkt.

645 (admitting that TTI continues to sell infringing Ryobi GDOs

to date, and adding that TTI intends to account for said sales

and compensate Chamberlain accordingly).)                        This factor weighs in

favor of enhanced damages.

      TTI’s    Remedial        Actions.          “Courts         have    concluded    that

continuing     to    sell     the    infringing       products          after   notice   of

infringement        and     during    the      course       of    litigation     supports

enhancement.”             Polara,    237    F.      Supp.    3d     at    993   (citation

omitted). Here, TTI has continued to sell its GDOs, although

directly, and not through Home Depot, since the return of the

jury verdict.        (See, M. Preus Decl. ¶ 9, Dkt. 645-1.)                     This adds

to TTI’s infringement instead of reducing it.                             As such, this

factor weighs in favor of enhanced damages.

      TTI’s Motivation for Harm.                 The evidence suggests that TTI

recognized the peril of infringement and yet moved forward with

its GD200s anyway.             TTI’s actions during the development and

release of both the GD200 and the GD200A suggest that TTI wanted

to    enter    the        market     quickly     and,       if    possible,      displace

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Chamberlain’s      hold        on     it.      This        preference       for     risk   of

infringement over the more labor-intensive creation of a non-

infringing design weighs in favor of enhancing damages.                                Funai

Elec. Co., Ltd. v. Daewoo Elecs. Corp., 593 F. Supp. 2d 1088,

1116-17 (N.D. Cal. 2009) (agreeing that “where, as here, the

infringer engages in infringing conduct to gain an edge over the

patentee in a competitive market, this factor favors an award of

enhanced damages.”)

       Attempts    by     TTI    to    Conceal       Its    Misconduct.           First,    as

described     above,      TTI       evaded     the    preliminary          injunction       by

unloading    its       GDOs    to   Home     Depot    after       the     Court’s    opinion

foretelling      the     injunction         against        the    same.      Second,       TTI

contacted Home Depot in October 2016, a month after the Court

entered the preliminary injunction but three months before the

Federal Circuit vacated it, offering to sell Ryobi GDOs despite

the Court’s command not to do so.                      (Cameron Dep. Designations

209:21-210:25, Dkt. 625-10.)                  This factor weighs in favor of

enhanced damages.             See, 35 U.S.C. § 271(a) (offering to sell a

patented         invention            constitutes            infringement);            R-BOC

Representatives, Inc. v. Minemyer,                    233        F. Supp. 3d        647, 689

(N.D. Ill. 2017) (ordering treble damages where defendants not

only    failed    to    follow      the     injunction,          but   “silently     avoided

it”).

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       In    sum,   considering       the     jury’s       verdict      and     the       Read

factors,      the   Court    finds    that     Chamberlain            has    shown     by    a

preponderance       of     the     evidence     that        enhanced         damages        are

appropriate here.          Halo Elecs., 136 S. Ct. at 1934.                     The Court

accordingly orders treble damages.

            V.   Chamberlain’s Motion for Prejudgment Interest
                          and Supplemental Damages

                            A.    Prejudgment Interest

       Given     Congress’       overriding    purpose       of       affording       patent

owners       complete     compensation,        prejudgment            interest        should

ordinarily be awarded in patent cases.                       Gen. Motors Corp. v.

Devex Corp., 461 U.S. 648, 655 (1983) (citing 35 U.S.C. § 284).

“Generally, prejudgment interest should be awarded from the date

of infringement to the date of judgment.”                        Nickson Indus., Inc.

v. Rol Mfg. Co., 847 F.2d 795, 800 (Fed. Cir. 1988) (citations

omitted).        Both the rate and whether the interest should be

compounded “are matters left largely to the discretion of the

district      court.”       Bio-Rad    Labs.,       Inc.    v.    Nicolet      Instrument

Corp., 807 F.2d 964, 969 (Fed. Cir. 1986) (citations omitted).

       The    parties     dispute    which    rate     the    Court         should    apply.

Chamberlain argues for the prime rate (between 3.5 and 4.25% in

this     case),     and    TTI     argues     for     the     treasury         bill       rate

(approximately       0.62%).        “The    prime     rate       of   interest       is     the


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benchmark rate for the banks’ most credit-worthy customers, but

even blue-chip debtors are more likely to default than is the

United States government, so the prime rate exceeds the T-Bill

rate . . . [b]ecause the prime rate includes some compensation

for the risk of non-payment. . . .”                    Koopmans v. Farm Credit

Servs. of Mid-America, ACA, 102 F.3d 874, 875 (7th Cir. 1996)

(citation omitted).          As Judge Amy St. Eve explained in Black &

Decker Inc. v. Robert Bosch Tool Corp., No. 04 C 7955, 2006 WL

3359349 (N.D. Ill. Nov. 20, 2006), vacated on other grounds, 260

F. App’x 284 (Fed. Cir. 2008), “if the Court were to use the

prime rate, [the plaintiff] would be compensated for the risk of

non-repayment—a           risk    that      does    not      exist     under     the

circumstances.            Here,   the     T-Bill   rate    is   more   appropriate

because it will adequately compensate [the Plaintiff] for its

‘foregone use of the money between the time of infringement and

the date of the judgment’ without additional compensation.”                      Id.

at *11 (citing Laitram Corp. v. NEC Corp., 115 F.3d 947, 955

(Fed. Cir. 1997) (affirming district court’s award of interest

at T-Bill rate to “adequately compensate plaintiff for the lost

use   of    its    royalties”)).            Further,    “[i]n   determining      the

appropriate       rate,    courts   have     considered     whether,    during   the

period     of   infringement,       the    plaintiff      ‘borrowed    money   at   a

higher rate, what that rate was, or [whether] there was a causal

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connection between any borrowing and the loss of the use of the

money awarded as a result of [the defendant’s] infringement.’”

Apple, Inc. v. Samsung Elecs. Co., 67 F. Supp. 3d 1100, 1121-22

(N.D. Cal. 2014), aff’d, 816 F.3d 788 (Fed. Cir. 2016), vacated

in part and aff’d in part on reh’g en banc, 839 F.3d 1034 (Fed.

Cir.);   accord    Laitram,      115   F.3d     at   955    (upholding        district

court’s decision to use the treasury bill rate in case where

district court found no evidence of “a causal connection between

any borrowing and the loss of the use of the money awarded as a

result of the infringement.”).              Chamberlain made no such showing

here.    The Court agrees the T-Bill rate is appropriate.

      Next, courts “have recognized that compounding is necessary

to fully compensate the patentee.”              Sealant Sys. Int’l, Inc. v.

TEK Global S.R.L., No. 11 CV 00774, 2014 WL 1008183, at *6 (N.D.

Cal. Mar. 7, 2014) (citation omitted), aff’d in part, vacated in

part,    rev’d    in   part,   616     F.    App’x   987     (Fed.     Cir.    2015).

“Because a patentee’s damages include the foregone use of money,

compounding is needed to account for the time value of money.”

Id.   (citation    omitted).       Thus,      “courts      have   approved     annual

compounding      and   even    daily        compounding.”          Id.     (citation

omitted).     TTI has not articulated any objection to compounding.

The   Court   believes    that    monthly       compounding,      as     Chamberlain

requests, is appropriate here.

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                          B. Supplemental Damages

      Chamberlain asks the Court to amend the judgment pursuant

to Federal Rule of Civil Procedure 59(e) to account for new

information not available at trial concerning TTI’s sales of

infringing products between May 1, 2017 and September 5, 2017.

Courts may account for such pre-verdict sales not presented at

trial.    See, e.g., Finjan, Inc. v. Secure Computing Corp., 626

F.3d 1197, 1212 (Fed. Cir. 2010) (affirming supplemental damages

for infringing sales never considered by the jury); accord 35

U.S.C. § 284 (“When damages are not found by a jury, the court

shall assess them”).       These supplemental damages derive from the

same three sources as the original damages determined by the

jury: (1) lost profits for sales of infringing GDOs; (2) future

accessories for those infringing GDOs; (3) royalties for sales

of   infringing    GDOs   not   accounted      for   in   Chamberlain’s       lost

profits, as determined by Chamberlain’s market share.

      TTI contends that none of these supplemental damages is

appropriate because TTI has begun and intends to complete buying

back from Home Depot all remaining stock of infringing Ryobi

GDOs.     But   TTI   cites   no   legal   authority      explaining    why    its

repurchasing plan erases the harm done to Chamberlain or annuls

damages   TTI   would     otherwise    owe.     As   Chamberlain       correctly

notes, Chamberlain suffered lost profits at the time TTI made

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the initial, infringing sales to Home Depot; a later-implemented

buy-back plan does not undo that harm.               Beyond this, TTI states

that its intent in repurchasing the infringing GDOs is simply to

sell those GDOs directly to consumers, rather than use Home

Depot as a middle man.         Chamberlain is entitled to supplemental

damages for both lost profits and royalties for TTI’s infringing

sales occurring from May 1, 2017 to September 5, 2017.

       However,   the   calculus    might     not    be   so   simple    for   the

supplemental damages for lost future sales of GDO accessories.

By   using   an   “accessory    attach    rate”      of   0.75,   Chamberlain’s

damages expert concluded that Chamberlain “lost or is likely to

lose in the future sales of 11,442 accessory units associated

with the lost GDOs, resulting in additional lost profits of

$134,496 for accessories.”          (J. Hansen Decl. ¶ 2, Dkt. 630-1.)

So unlike the supplemental damages for lost profits or royalties

associated    with   GDO   sales,    these    accessory-sales      damages      are

predicated upon downstream purchases by consumers.                 Thus, to the

extent   TTI’s    buy-back    strategy    removes     infringing       Ryobi   GDOs

from the market, Chamberlain may not recover for now-prevented,

would-have-been purchases of accessories.                 But again, TTI has

announced its intention to re-sell the repurchased GDOs directly

to consumers.      If TTI has already repurchased and resold all of

Home   Depot’s    remaining     stock,    this      digression    is    moot   and

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Chamberlain is entitled to supplemental damages for accessory

lost profits.       (See TTI’s Opp. to Enhanced Damages at 13 n.10,

Dkt.   645   (acknowledging       TTI’s     intent   to    sell      its     remaining

inventory of infringing Ryobi GDOs and predicting selling out

all on-hand stock within six months of October 18, 2017).)                         But

as discussed above, the Court now grants Chamberlain’s Motion

for a permanent injunction.               As such, any repurchased product

on-hand at TTI may not be sold to future consumers.                    Thus, it is

only that stock—stock which no consumer will ever use—that may

decrease the supplemental accessory damages TTI must pay.

       Given the above, the Court grants Chamberlain’s Motion for

supplemental damages in part and awards the following:

       1. Prejudgment interest of $42,347.00, calculated by using the

52-week treasury bill rate, compounded monthly;

       2.    For   the   ‘275   patent,    $900,793.00    in   GDO    lost    profits;

$54,672.00 in royalties; and $134,496.00 in accessory lost profits,

unless TTI has some repurchased GDO stock still on hand, in which case

TTI may move the Court within fourteen days to reduce the accessory

lost profits damages accordingly;

       3. For the ‘966 patent, $18,224.00 in royalties.

             VI. Chamberlain’s Motion for Attorneys’ Fees

                          A.    Whether to Award Fees




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     “The      court   in   exceptional       cases   may   award       reasonable

attorney fees to the prevailing party.”               35 U.S.C. § 285.            In

2014, the Supreme Court clarified the standard for finding a

case “exceptional”: “[A]n ‘exceptional’ case is simply one that

stands out from others with respect to the substantive strength

of a party’s litigating position (considering both the governing

law and the facts of the case) or the unreasonable manner in

which the case was litigated.             District courts may determine

whether a case is ‘exceptional’ in the case-by-case exercise of

their     discretion,       considering         the    totality          of      the

circumstances.”        Octane Fitness, LLC v. ICON Health & Fitness,

Inc., 134 S. Ct. 1749, 1756 (2014).              In determining whether to

award attorneys’ fees, the trial judge considers “the closeness

of the case, the tactics of counsel, the conduct of the parties,

and any other factors that may contribute to a fair allocation

of the burdens of litigation as between winner and loser.”                      S.C.

Johnson & Son, Inc. v. Carter-Wallace, Inc., 781 F.2d 198, 201

(Fed.   Cir.     1986).      “The   determination      whether      a    case     is

‘exceptional’ is indisputably committed to the discretion of the

district court.”       Lumen View Tech. LLC v. Findthebest.com, Inc.,

811 F.3d 479, 482 (Fed. Cir. 2016) (citing Highmark Inc. v.

Allcare Health Mgmt. Sys., Inc., 134 S. Ct. 1744, 1748 (2014)).



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       Before Octane Fitness, the Federal Circuit remarked that

“[w]hile a finding of willful infringement does not require a

finding that a case is exceptional, our cases uniformly indicate

that    the   willfulness     of     the    infringement    by     the   accused

infringer may be a sufficient basis in a particular case for

finding the case exceptional for purposes of awarding attorney

fees to the prevailing patent owner.”             Golight, Inc. v. Wal-Mart

Stores, Inc., 355 F.3d 1327, 1340 (Fed. Cir. 2004) (quoting Avia

Group Int’l, Inc. v. L.A. Gear Cal., Inc., 853 F.2d 1557, 1567

(Fed. Cir. 1988)) (citation, alternations, and quotation marks

omitted).     The Federal Circuit has had the opportunity, post-

Octane Fitness, to do away with that formulation and yet has

declined to do so.        In Stryker Corp. v. Zimmer, Inc., 837 F.3d

1268, 1279 (Fed. Cir. 2016), the court of appeals noted only

that    post-Octane     Fitness,     a     willfulness   finding     “does   not

necessarily”     make    a    case       exceptional.      That     observation

seemingly leaves open the possibility that, under the Octane

totality-of-the-circumstances test, a willfulness finding alone

may suffice for the “exceptional” designation.                    See, Stryker

Corp. v. Zimmer, Inc., No. 10 CV 1223, 2017 WL 4286412, at *2

(W.D. Mich. July 12, 2017) (holding that the jury’s “subjective

willfulness” finding was sufficient for an “exceptional” case

finding under the rigid, pre-Octane Fitness framework, and is it

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“certainly     sufficient         for    such     a   finding      under       the         more

flexible,     totality-of-the-circumstances             standard        enunciated           by

Octane Fitness”);         see also,       Rawcar Grp., LLC v. Grace Med.,

Inc.,   No.   13   CV     1105,    2014    WL     12577590,       at   *3     (S.D.        Cal.

Dec. 16, 2014) (approvingly reciting, after Octane Fitness, that

a willfulness finding may be a sufficient basis for finding a

case “exceptional”); Comaper Corp. v. Antec, Inc., No. CV 05-

1103, 2014 WL 12613394, at *1 (E.D. Pa. June 11, 2014) (same);

but cf.     Arthrex, Inc. v. Smith & Nephew, Inc., No. 15 CV 01047,

2017 WL 365239, at *1 (E.D. Tex. Jan. 25, 2017) (“Since Octane

Fitness, the Federal Circuit has acknowledged that a finding a

[sic]      willfulness       does        not      necessarily          make       a        case

exceptional.”).

     Here, the jury found TTI willfully infringed both asserted

patents.      And,   though       reliance      on    this    finding       alone      still

appears    permissible      under       controlling     authority,          the       Court’s

finding    that    this    case     is    exceptional        is   bolstered           by    the

conduct of TTI and its counsel, as described above.                           (See, supra

at Part IV.A.)          Most prominent in the Court’s eyes are TTI’s

efforts to circumvent the preliminary injunction.                             (See, id.)

Under the totality of the circumstances, the Court believes an

exercise of its discretion is appropriate here: It finds this



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case exceptional and accordingly awards Chamberlain reasonable

attorneys’ fees.      35 U.S.C. § 285.




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                            B. What Fees to Award

      Chamberlain and TTI tussle over whether TTI’s objections to

the sought-after fees were untimely under Local Rule 54.3 and

thus waived.      The shortest version of the dispute is this: The

Court required the parties to file their Joint Statement by

November 21, 2017.         Chamberlain produced 562 pages of invoices

to TTI about two months in advance of that deadline, but did not

provide any further breakdown or summary of those fees until the

November 21st due date.          In the Joint Statement, TTI maintains

that because Chamberlain tardily produced this breakdown, TTI

lacked the information necessary to provide specific objections

to Chamberlain’s invoices, which “contained numerous categories

of fees and costs that [are] not compensable.”                 (Joint Statement

at 10, Dkt. 690.)         Still, TTI then waited until January 3, 2018

to articulate its objections in its response to Chamberlain’s

motion for fees.      Though both parties make much of this quarrel,

Local Rule 54.3 does not mandate waiver in such circumstances,

and   here   TTI’s   delayed     articulation     has    not    prejudiced   the

Court’s   ability    to    settle   the   fee   dispute.       The   Court   will

accordingly consider TTI’s objections as it weighs which fees to

award in this case.

      Chamberlain     requests      $8,033,942.73       in     attorneys’    fees

(Reply at 13, Dkt. 717 (explaining that since Chamberlain filed

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its    Motion     for      fees    requesting       $8,286,135.93,           Chamberlain

received      updated      information     regarding    its     legal    expenses      in

this case and adjusted its request accordingly).)                       In support of

its request, Chamberlain provides a breakdown of the billing

rates for each attorney who worked on this matter.                            (M. Brody

Decl. at 5-6, Dkt. 704-2.)                The Seventh Circuit has “defined a

reasonable hourly rate as one that is ‘derived from the market

rate    for    the   services       rendered.’         [Further,       the    court    of

appeals] presume[s] that an attorney’s actual billing rate for

similar litigation is appropriate to use as the market rate.”

Pickett v. Sheridan Health Care Ctr., 664 F.3d 632, 640 (7th

Cir. 2011) (quoting Denius v. Dunlap, 330 F.3d 919, 930 (7th

Cir.    2003)).         Here,     Chamberlain       provides    the     affidavit     of

Michael Brody, the Co-Chair of Winston & Strawn’s IP Practice.

Mr.    Brody    attests      to    extensive       litigation    and     intellectual

property experience and has been a member of this district’s

trial bar since 1985.             He regularly handles litigation budgeting

matters at his law firm, and he has applied that experience to

his review of Chamberlain’s billing invoices in this matter.                           He

also   reviewed      the    backgrounds      of    Chamberlain’s       attorneys      and

ultimately agreed that Chamberlain’s proposed fees in this case

are    competitive       with     those    incurred     by     other     Chicago      and

nationwide       firms       handling      patent      litigation        of     similar

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complexity. (See, Brody Decl., Dkt. 704-2.)                 Further, the Court

compared the hourly rates for Chamberlain’s and TTI’s respective

counsel.     (Compare id. (reciting hourly rates for Chamberlain’s

counsel),    with    Dkt.     711-9    (reciting   hourly    rates    for   TTI’s

counsel).)       When, as often occurs in Mr. Brody’s declaration,

Chamberlain lists an individual timekeeper’s rates as a range

rather than a single figure, the Court used the median of the

range presented for the purposes of this comparison.                  These are

the    results:     Chamberlain’s      attorneys   charged     an    average   of

$753.57/hour per partner and $453.31/hour per associate; TTI’s

attorneys charged an average of $747.35/hour per partner and

$410.80/hour per associate.              These rates are not far apart —

TTI’s rates are within 10% of Chamberlain’s—suggesting that the

rates charged by Chamberlain’s counsel do not much deviate from

the market rate for services rendered.              See, Pickett, 664 F.3d

at 640.     Because of this and Mr. Brody’s declaration to the same

effect, the Court agrees with Chamberlain that its counsels’

recited hourly rates are reasonable.

       Having determined that the rates are reasonable, the Court

must    decide      whether     it     should   subtract      any    sums    from

Chamberlain’s       requested        total.     Chamberlain     provides       the

following breakdown of its attorneys’ fees:



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        Firm                Total Paid                  Total Paid            Total Paid
                          (-6097 Related                  (-6097                (-6097
                               IPRs)                   Litigation)           Litigation &
                                                                            Related IPRs)
Winston &                 $0                     $1,737,490.30             $1,737,490.30
Strawn
Fish &                    $870,437.82            $5,426,014.61             $6,296,452.43
Richardson


(Reply,      Dkt.    717       at   13.)      First,     the     Court     will    not    award

Chamberlain         the    $870,437.82          it     spent     on    counsel      for     IPR

proceedings.        Fees related to a separate legal proceeding cannot

be recovered.         See, e.g., Hickory Farms, Inc. v. Snackmasters,

Inc., No. 05 C 4541, 2008 WL 4542961, at *6 (N.D. Ill. Apr. 2,

2008).       Chamberlain argues that other courts have permitted such

recovery, see, PPG Indus., Inc. v. Celanese Polymer Specialties

Co., 840 F.2d 1565, 1568 (Fed. Cir. 1988); Deep Sky Software,

Inc.    v.     Southwest        Airlines       Co.,     No.    10     cv   1234,    2015     WL

10844231, at *2-3 (S.D. Cal. Aug. 19, 2015), but as TTI points

out, both of the cases Chamberlain cites involved a stay of

litigation      pending         the   Patent     Office       proceedings.          Thus,    in

those    cases,      “[t]he         parties    and      the    district     court    clearly

intended       to   replace         the    district      court      litigation     with     the

[Patent Office] proceedings.”                  PPG Indus., 840 F.2d at 1568; cf.

Deep Sky, 2015 WL 10844231, at *1.                      No such replacement occurred

here, where the Patent Office proceedings ran concurrently with

this litigation.

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       Nor     can        Chamberlain      recover         fees      for        efforts   that

ultimately         failed.         Prime    among     these        is    TTI’s     ultimately

victorious appeal to the Federal Circuit from this Court’s Order

instituting the preliminary injunction.                      Chamberlain did not win

that    appeal,      and     the    Federal       Circuit     has       taken     issue   with

district       courts       awarding       fees      related       to      court-of-appeals

proceedings.         Phonometrics, Inc. v. Choice Hotels Int’l, Inc.,

65 F. App’x 284, 285-86 (Fed. Cir. 2003) (vacating award of

interlocutory-appeal-related attorney fees).                            The Court will not

award Chamberlain the $250,289.69 in fees and costs related to

that appeal.

       True, Chamberlain won fleeting victories on its motions for

a      preliminary          injunction       and       for         contempt.        But       the

aforementioned Federal Circuit decision vacated those victories.

The    Court    will       not   award     Chamberlain       for        these    unsuccessful

motions, even if this Court at first agreed with Chamberlain’s

arguments.         Cf. Eli Lilly & Co. v. Zenith Goldline Pharm., Inc.,

264 F. Supp. 2d 753, 771 (S.D. Ind. 2003) (denying fees for

unsuccessful         motions       to    compel      and     for     summary       judgment).

However, calculating how much Chamberlain spent in fees pursuing

these motions has not been simple.                         TTI helpfully provided a

breakdown of the 2,289.90 total purported hours related to these

motions      and     to    the   Federal     Circuit        appeal        (see,    Ex.    E   to

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Response, Dkt. 711-5), but there are limits to that breakdown’s

usefulness: TTI did not break out which of these 2,000-plus

hours relate to the appeal, as opposed to the motions; though

TTI split up these total hours between individual timekeepers,

TTI did not import the hourly fees for these timekeepers from

the joint status report (Dkt. 690); and TTI lists one attorney

twice,    without      explanation.             Chamberlain       did     not   provide      a

breakdown       of   its    own.        To    clear   this   up     swiftly      and    avoid

further unnecessary briefing, the parties shall submit a joint

report within fourteen (14) days providing a billing rate for

each timekeeper appearing in TTI’s list, and the report shall

identify    which     hours      relate       to   the   appeal     and    which       to   the

motions.        For those timekeepers that Mr. Brody’s declaration

lists not a single hourly rate by a range, the parties shall use

the median of that range.

       To the remaining, sought-after attorneys’ fees: TTI levies

two objections the Court finds somewhat meritorious.                               In some

instances, partners could have kept fees lower by delegating

tasks    such    as   responding         to    discovery     requests      and     drafting

simple     motions         to   more     junior,      and    thus       less    expensive,

attorneys.       Prather v. Sun Life & Health Ins. Co., 852 F.3d 697,

699-700 (7th Cir. 2017) (reducing fee award for hours that could

have     been    delegated         to    less      pricey    counsel).           In     other

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instances, Chamberlain’s counsel undertook clerical tasks for

which compensation at attorney rates is not appropriate.                             See,

Delgado v. Vill. of Rosemont, No. 03 C 7050, 2006 WL 3147695, at

*2 (N.D. Ill. Oct. 31, 2006) (“A court should disallow time

spent on ‘clerical’ or ‘secretarial’ tasks.”).                           Still, having

reviewed the time records kept by Chamberlain’s counsel, the

Court found such problems in no more than 5% of the entries.

The   Court      accordingly     imposes      a     5%        blanket    reduction      of

Chamberlain’s attorneys’ fees.              Montanez v. Simon, 755 F.3d 547,

552 (7th Cir. 2014) (observing that district courts have broad

discretion “to adjust bloated bills for attorney’s fees”).

      As    described    above,       the   final       fee    award    turns    upon   a

calculation       the   parties        must      make     concerning        what     fees

Chamberlain expensed in litigating its preliminary injunction

and contempt motions.           Once the parties submit a joint status

report     detailing    that    sum,     Chamberlain’s          fee     award   will    be

calculated and ordered as follows: $8,033,942.73 (Chamberlain’s

amended    fee    request),     less     $870,437.82          (incurred    via     Patent

Office     proceedings),       less    $250,289.69        (incurred       via    Federal

Circuit     appeal),     less         sum-to-be-determined              (incurred      via

ultimately unsuccessful motions), less a 5% overall reduction of

the resulting figure.



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     Finally,     Chamberlain     seeks   $1,221,021.74      in   “non-taxable

expenses,” which includes “all costs claimed on its Bill of

Costs.”     (Mot. for Attorney’s Fees at 11-12, Dkt. 704.)                   The

Court addresses these expenses below and will not award on this

motion any amounts beyond those allowed from the bill of costs.

(See, infra at Part VII.)

                   VII.    Chamberlain’s Bill of Costs

     Federal Rule of Civil Procedure 54(d)(1) provides that a

prevailing party may obtain reimbursement for certain litigation

costs at the conclusion of a lawsuit.                The Rule establishes a

“presumption that the prevailing party will recover costs, and

the losing party bears the burden of an affirmative showing that

taxed costs are not appropriate.”             Beamon v. Marshall & Ilsley

Trust Co., 411 F.3d 854, 864 (7th Cir. 2005) (citing M.T. Bonk

Co. v. Milton Bradley Co., 945 F.2d 1404, 1409 (7th Cir. 1991)).

In evaluating an application for costs, the Court must first

determine    whether    the   claimed     expenses    are   recoverable     and,

second, whether the costs requested are reasonable.                 Majeske v.

City of Chicago, 218 F.3d 816, 824 (7th Cir. 2000) (citation

omitted).    The Court has “wide latitude” in fixing a reasonable

award.    Deimer v. Cincinnati Sub-Zero Prods., Inc., 58 F.3d 341,

345 (7th Cir. 1995) (citations omitted).



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     Here, Chamberlain’s bill of costs and associated exhibits

often fall short of a portrait of clarity.                       The Court will make

calculations where possible and, where figures were missing or

were not sufficiently itemized in Chamberlain’s materials, the

Court    will    rule     how    the     remaining       calculations      are    to    be

performed.       Chamberlain shall submit a revised bill of costs

within       fourteen     (14)        days     including       those    still-required

calculations.            No     further       briefing     from     either      side    is

necessary.

        A.    Fees Paid to the Clerk and for Service of Process

     Chamberlain requests $1,463.00 under 28 U.S.C. § 1920(1),

comprising: $400.00 in fees paid to the clerk and $1,063.00 in

fees for service of process.                   The latter includes one hour of

service at a $65/hour rate for each witness served and three

witness fee advances ranging from $64 to $87.                            All of these

costs are recoverable under § 1920(1) and are reasonable.                               See

Clarendon      Nat.     Ins.    Co.    v.     Medina,    No.    8   C   4245,    2010   WL

3526515, at *1 (N.D. Ill. Sept. 1, 2010) (reasonable rates for

service of process);            Dishman v. Cleary,             279 F.R.D. 460, 466

(N.D. Ill. 2012) (“Where service on a witness is reasonable at

the time, witness fees advanced will be awarded.”).                             Further,

TTI does not object to this request.                           The Court allows the

$1,463.00 in costs.

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     B.   Transcript Copies, Expedited Transcripts, and Realtime
              Services for Evidentiary Hearings and Trial

      Chamberlain seeks costs for transcript copies, all ordered

on a daily, hourly, or expedited basis, for all status hearings

and motion presentments in the case, as well as for Realtime

services and laptop rentals.            Where the party seeking costs does

not provide “any explanation as to why [it] obtained a copy of a

daily transcript,” it “may only recover costs at the ordinary

transcript rates.”             Se-Kure Controls, Inc. v. Vanguard Prod.

Grp.,     Inc.,     873   F.    Supp.    2d   939,       945   (N.D.       Ill.     2012).

Chamberlain        provides     two     justifications         for     its        constant

expediting.        First, Chamberlain notes generally that it and TTI

actually     put    these   transcripts       to   use    throughout        litigation.

Second, Chamberlain points out that not only were several stages

of   this    case    particularly       fast-moving—e.g.,            the    preliminary

injunction and TTI’s Federal Circuit petition for a writ of

mandamus after this Court’s denial of TTI’s motion to transfer

venue—but also that hearing transcripts were often cited before

the Court throughout this litigation only days or weeks after

they were ordered.          (Chamberlain’s Reply at 6, Dkt. 683 (citing

three     examples).)       Further,     expedited       trial   transcripts          have

been found to be reasonable and necessary where, as here, “the

case involved expert witnesses whose cross-examination required


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knowledge of the exact wording of their previous testimony or

that of any other witnesses.”               Hillmann v. City of Chicago, No.

04 C 6671, 2017 WL 3521098, at *8 (N.D. Ill. Aug. 16, 2017)

(reciting    this    and       four    other   factors    courts    consider    when

weighing whether to award daily trial transcripts).                        The Court

agrees that often, the circumstances in this case reasonably

demanded expedited transcripts.                The same is true for Realtime

and the associated laptop rentals, given that this trial was at

times   technical        and     complicated,      and    these     services    were

reasonably necessary to ensure accurate and precise recording of

expert testimony.          Cf. Martinez v. City of Chicago, No. 14 CV

369, 2017 WL 1178233, at *23 (N.D. Ill. Mar. 30, 2017) (denying

expedited transcript and Realtime costs where trial “was not

particularly     lengthy        or    complicated,    and   did    not     involve   a

significant number of witnesses speaking a language other than

English”).       However, these circumstances were not present at

every   moment      of   this        litigation,   and   Chamberlain’s       routine

expediting and use of Realtime must have frequently been an

untaxable      convenience.            Accordingly,       the      Court     reduces

Chamberlain’s        costs       for      expedited      transcripts,       Realtime

services, and laptop rentals related to hearings and trial by

15%.



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                        C.     Deposition-Related Fees

       Chamberlain     seeks      $9,469.27      for     Realtime     and    associated

computer rentals, as well as $6,798.74 for rough, condensed,

computer-based, and expedited transcripts, all related to nearly

30 pretrial depositions.            Though TTI correctly points out that

both types of expenses are generally considered to be obtained

for    convenience     rather     than     out     of   necessity,     see,       Cascades

Computer Innovation, LLC v. Samsung Elecs. Co., No. 11 C 4574,

2016    WL   612792,    at   *4    (N.D.    Ill.        Feb.   16,   2016)     (Realtime

services); DSM Desotech, Inc. v. 3D Sys. Corp., No. 08 CV 1531,

2013 WL 3168730, at *4 (N.D. Ill. June 20, 2013) (condensed and

electronic     transcripts),        here    Chamberlain        explains      that       both

were reasonably necessary given tight timelines in this case,

namely: (1) transcripts from July and August 2016 depositions

needed to prepare for a preliminary injunction hearing set for

August 30, 2016; (2) transcripts from December 2016 and January

2017    depositions     needed      to     prepare        expert     reports      due    on

December 14, 2016 and January 23, 2017, respectively, as well as

for the contempt hearing on January 5-6, 2017; (3) transcripts

from    July   2017    depositions       necessary        to   prepare      for   Daubert

motions, due July 21, 2017, and motions in limine, due July 28,

2017.    The Realtime services and expedited transcripts were thus

reasonably necessary for Chamberlain and its experts to prepare

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in advance of Court-scheduled hearings and deadlines.                       The Court

will allow the $16,268.01 in costs under this category.

                                   D.     Video

      Chamberlain seeks costs for video depositions of all of its

own   and   TTI’s    witnesses.     But    generally,        “[c]ourts          in    this

circuit will not award costs for videotaping depositions where a

transcript was also purchased.”                Martinez v. City of Chicago,

No. 14 CV 369, 2017 WL 1178233, at *20 (N.D. Ill. Mar. 30, 2017)

(quotation    omitted)      (brackets     in    original).        And      as    already

explained,     Chamberlain     purchased        daily,    hourly,     or    expedited

transcripts       for      each    of      these         depositions.           Further,

Chamberlain’s     explanation      that    many     of    these   witnesses           were

outside the Court’s subpoena power is insufficient to entitle it

to these costs.           See, Clearlamp, LLC v. LKQ Corp., No. 12 C

2533, 2016 WL 7013478, at *3 (N.D. Ill. Nov. 30, 2016).                               The

Court   declines     to    award   these       costs,    save   for     those        costs

related to those videotaped depositions played at trial, namely

Carlson, Cameron, Butler, and Ely.                See, LG Elecs. U.S.A., Inc.

v. Whirlpool Corp., No. 08 C 0242, 2011 WL 5008425, at *3 (N.D.

Ill. Oct. 20, 2011) (awarding costs for video depositions played

in court).




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                  E.    Digitization and Synchronization

      Chamberlain       also    seeks     costs       for   the    digitation      and

synchronization of several video depositions.                     These costs will

be taxed for those four videotaped depositions mentioned above

that were played at trial.               Id. (synchronization fees may be

taxed when necessarily obtained for use in the case).                        But as

the other video recordings were not reasonably necessary for the

case, the Court will not award fees for their digitization and

synchronization.

                           F.    Fees for Witnesses

      Chamberlain      seeks    $6,443.13       for    attendance    fees,    travel

costs and lodging for its expert witnesses, of which TTI objects

to   $853.30    in     first    class    and      duplicative     airfare    and    to

$2,268.00 for unnecessary lodging charges.                   28 U.S.C. § 1920(3)

authorizes the award of costs to reimburse witnesses for their

reasonable travel and lodging expenses, and 28 U.S.C. § 1821

provides for a per diem of $40.00 per day for attendance at

court hearings or deposition.                  See,   28 U.S.C. § 1920(3); 28

U.S.C. § 1821(a)-(b); accord Olivarius v. Tharaldson Prop. Mgmt.

Inc., No. 08 C 463, 2012 WL 1117468, at *5 (N.D. Ill. Apr. 3,

2012).    Further, a witness’s travel costs are taxable, but only

“at the most economical rate reasonably available.”                     28 U.S.C.

§ 1821(c)(1).        Concerning the airfare: Chamberlain arranged for

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two first-class flights for its expert, Dr. Rhyne, even though

the doctor apparently only took one of these flights—the other

seems to have been booked as an alternative.                     The Court declines

these costs, which do not represent travel booked “at the most

economical     rate      reasonably      available.”       Id.     Chamberlain      now

concedes that it cannot recover the costs of lodging for its

experts for those days spent preparing, as opposed to days spent

testifying.        DSM    Desotech,      2013     WL    3168730,   at    *1-2.      The

balance of Chamberlain’s lodging and attendance fees, however,

is recoverable.        See, Olivarius, 2012 WL 1117468, at *5.                    After

subtracting the $853.30 in first class/duplicative airfare and

the $2,268.00 for unnecessary lodging charges, the Court allows

$3,321.83 in witness costs.

                               G.     Exemplification

      Chamberlain        seeks      $77,394.53     in    exemplification         costs,

including    time     billed     by   Michael     Ko,    the   on-site    technician

Chamberlain used at trial, and Joshua Rider, a Winston & Strawn

employee,    who    created      demonstratives          and   provided    technical

support.     As an initial matter, the costs of preparing exhibits

may be recovered, Trading Techs. Int’l, Inc. v. eSpeed, Inc.,

750 F. Supp. 2d 962, 981 (N.D. Ill. 2010) (citing Cefalu v.

Vill. of Elk Grove, 211 F.3d 416, 428-29 (7th Cir. 2000)), but

only for exemplification that was reasonably necessary “to the

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presentation of one’s case to the court,” Cefalu, 211 F.3d at

429 (citing 18 U.S.C. § 1920(4)).                   “When a prevailing party does

not identify the exhibits for which it claims costs, the court

should    deny    awarding       costs       for   the     exhibits         because    it     is

impossible to determine whether the costs were necessary for use

in the case.”       Trading Techs., 750 F. Supp. 2d at 981 (citations

and internal quotations omitted).

      Chamberlain        submits      a   summary     sheet       and       three    invoices

describing its exemplification expenses. (See, Dkt. 638-4.)                                  But

the   entries     are    generic      and     provide      the    Court       no    basis     to

determine        whether        the       labored-over           demonstratives           were

reasonably       necessary.           When    the     invoices         actually       list    a

specific-enough         item     that      might     be     taxable         (e.g.,     “rhyne

slides,” referring to demonstratives used during the testimony

of Chamberlain’s technical expert, Dr. Rhyne), those items are

lumped together with other either non-taxable or else under-

detailed    items,       thus   making       it    impossible         for    the    Court     to

determine appropriate costs.                 See, Fox v. Will Cty., No. 04 C

7309, 2009 WL 723385, at *3 (N.D. Ill. Mar. 11, 2009) (refusing

costs    where     invoice      included          “items    that       are    clearly        not

taxable”    as    well    as    “others      that    might       be   taxable       had   more

information been provided”).                 Chamberlain has failed to justify

its exemplification expenses, so the Court will not award them.

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See,     id.      (finding          unjustified             expenses       not       reasonably

necessary).

                                          H.        Copying

       Copying costs are recoverable but must be reasonable and

“necessarily       obtained         for    use        in   the    case.”     See,    28       U.S.C.

§ 1920(4).         Chamberlain            must        “identify      the   nature        of    each

document copied, the number of copies of each document prepared,

the     copying    cost       per    page,           and    the    total     copying       cost.”

Druckzentrum Harry Jung GmbH & Co. KG v. Motorola, Inc., No. 09

CV    7231,    2013    WL     147014,          at    *7    (N.D.    Ill.     Jan.    11,      2013)

(citation and internal quotation marks omitted).                                 Beyond this,

however, Chamberlain need not “submit a bill of costs containing

a description so detailed as to make it impossible economically

to recover photocopying costs.”                            Northbrook Excess & Surplus

Ins. Co. v. Procter & Gamble Co., 924 F.2d 633, 643 (7th Cir.

1991).        Through an attorney affidavit (Dkt. 636), Chamberlain

represents that the copies reflected in its summary and invoices

(Dkt.     638-5)       were     used           to     support      opening       and      closing

statements,       as   well     as        in    examination         binders      for      sixteen

directs,       crosses,        and        depositions.             Neither     Chamberlain’s

affidavit nor its invoices state the number of copies made of

each    document,      although           Chamberlain’s            memorandum       in    support

explains that while the answer is seven of each, Chamberlain

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only seeks costs for three copies a piece given this Court’s

recognition that “district courts have usually limited recovery

to three sets of copies, as a prevailing party may not recover

copies made for its personal use, but may recover for copies

submitted to the court and opposing counsel.”                Menasha Corp. v.

News Am. Mktg. Instore, Inc., No. 00 C 1895, 2003 WL 21788989,

at   *4   (N.D.    Ill.    July    31,   2003)    (citations     and   internal

quotations    omitted).       As   to    the   cost   per   page:   Chamberlain

explains that the in-house copying rate at Winston & Strawn is

$0.10/page; this rate appears to be the same for black and white

copies at Ricoh, one of Chamberlain’s external vendors.                    (See,

Dkt. 638-5 at 5.)

      These invoices also include non-recoverable expenses such

as “general pickup and delivery” (Dkt. 638-5 at 6) and “delivery

charge” (id. at 9; see, Chi. Bd. Options Exch., Inc. v. Int’l

Sec. Exch., LLC, No. 07 CV 623, 2014 WL 125937, at *3 (N.D. Ill.

Jan. 14, 2014) (costs of courier, postage, and delivery charges

are typically considered overhead and not allowable as costs)),

as well as binders and tabs, Berry Plastics Corp. v. Intertape

Polymer Corp., No. 310 CV 00076, 2017 WL 167829, at *8 (S.D.

Ind. Jan. 17, 2017) (“tabs, hole drilling, binders, and document

scanning [. . .] are not compensable”).



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       Given the above, the Court awards copying costs as follows:

Chamberlain is entitled to costs for three copies of each of the

deposition and trial documents described in its exhibits.                                     If

the invoices submitted do not already reflect this reduction —

from    seven      copies        to       three—Chamberlain             shall       make     the

appropriate calculation in its revised bill of costs.                                      Costs

shall be calculated on a $0.10/page rate for black and white

copies,     and    $0.60/page         rate       for     color     copies       (the    latter

apparently       the    going    rate      at    Ricoh,     see,     Dkt.    638-5      at   3).

Chamberlain       shall    not       be    awarded       costs     for      the   remaining,

untaxable or otherwise under-explained, miscellaneous items in

these invoices, including delivery charges, binders, and tabs.

                                I.     E-Discovery Fees

       Chamberlain seeks $61,680.65 in costs for optical character

recognition       (“OCR”),        Bates         stamping,      and      general        document

scanning.        (See, E-Disc. Expenses Summary, Dkt. 639-1.)                                OCR

expenses    are        “typically         not    recoverable       as    prevailing-party

costs   under      28    U.S.C.       § 1920(4),        because      they     are      incurred

purely to make a document searchable (as opposed to readable).”

Midwest Fence Corp. v. U.S. Dep’t of Transportation, No. 10 C

5627,     2018    WL     1535081,         at    *3     (N.D.     Ill.    Mar.     29,      2018)

(citations omitted).             Costs for Bates labeling, however, have

been found to be taxable.                  Id. (citing DSM Desotech, Inc. v. 3D

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Sys. Corp., No. 08 CV 1531, 2013 WL 3168730, at *2 (N.D. Ill.

June   20,   2013)    (collecting       cases)).         However,       Chamberlain’s

papers lump together costs for OCR, Bates, and scanning without

providing a clear breakdown.              (See, E-Discovery Cost Summary,

Dkt. 639-1.)       In the absence of a breakdown of these costs, the

Court exercises its discretion to award 25% of the sought-after

e-discovery expenses so that TTI will not be taxed for costs not

recoverable under Section 1920(4).                   See, e.g., Allen v. City of

Chicago, No. 10 C 3183, 2016 WL 1070828, at *9 (N.D. Ill. Mar.

16, 2016) (noting that where “the prevailing party has not met

its burden of showing that the requested costs were necessarily

incurred     and   reasonable    . . .     courts        in    this   district    have

either   reduced     copying    costs    by      a    substantial     percentage    or

denied copying costs entirely” and awarding 25% of the requested

e-discovery costs given the absence of a breakdown of the fees

charged); Intercontinental Great Brands LLC v. Kellogg N. Am.

Co., No. 13 C 321, 2016 WL 316865, at *2 (N.D. Ill. Jan. 26,

2016) (awarding 25% of requested processing fees in absence of a

breakdown).        The Court thus awards $15,420.16 in e-discovery

costs to Chamberlain.

                               VIII.    CONCLUSION

       For   the   reasons     stated     herein,        the    Court    orders    the

following:

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      1.    TTI’s Motion for Judgment as a Matter of Law is denied

(Dkt. 573);

      2.    TTI’s Motion for a New Trial is denied (Dkt. 619);

      3.    Chamberlain’s      Motion    for   a    Permanent     Injunction   is

granted (Dkt. 622);

      4.    Chamberlain’s Motion for Enhanced Damages is granted

(Dkt. 624, 625), and the Court accordingly awards Chamberlain

$11.4 million in treble damages;

      5.    Chamberlain’s      Motion    for       Prejudgment    Interest     and

Supplemental Damages is granted in part (Dkt. 630), and the Court

awards the following:

            a.     Prejudgment     interest    of    $42,347,     calculated

      by   using   the   52-week    treasury       bill   rate,   compounded

      monthly;

            b.     For the ‘275 patent, $900,793 in GDO lost profits;

      $54,672 in royalties; and $134,496 in accessory lost profits,

      unless TTI has some repurchased GDO stock still on hand, in

      which case TTI may move the Court within fourteen (14) days

      to reduce the accessory lost profits damages accordingly;

            c.     For the ‘966 patent, $18,224 in royalties.

      6.    Chamberlain’s Motion for Attorneys’ Fees is granted in part

(Dkt. 703, 704), though the Court will not order any fees until the

parties submit, within fourteen (14) days, a joint report as described

in this ruling;


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      7.     Chamberlain’s Bill of Costs is granted in part (Dkt. 634),

though the Court will not order any costs until Chamberlain submits,

within fourteen (14) days, a revised bill of costs in accordance with

this ruling.



IT IS SO ORDERED.




                                            Harry D. Leinenweber, Judge
                                            United States District Court

Dated:     5/23/2018




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